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                           Progress of the New Jersey
                       Department of Children and Families
                                     Monitoring Period XXI
                                  (July 1 – December 31, 2017)

                               Charlie and Nadine H. v. Murphy

                                               July 18, 2018
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                                         Department of Children and Families

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I.        INTRODUCTION

The Center for the Study of Social Policy (CSSP) was appointed by the Honorable Stanley R. Chesler of the
United States District Court for the District of New Jersey as Federal Monitor of the class action lawsuit Charlie
and Nadine H. v. Murphy, aimed at improving outcomes for children, youth and families served through New
Jersey’s child welfare system. As the Monitor, CSSP has been charged with independently assessing New
Jersey’s compliance with the goals, principles and outcomes of the Court Order entered on December 1, 2005;
the Modified Settlement Agreement (MSA) entered on July 17, 2006; and now the Sustainability and Exit Plan
(SEP) entered on November 4, 2015, that supersedes the MSA. This is the fifth monitoring report measuring
progress under the SEP and includes performance data for the period July 1 through December 31, 2017.1

Monitoring Methodology

The Monitor’s public reports cover six month periods.2 The primary sources of information on New Jersey’s
progress are quantitative and qualitative aggregate data supplied by the Department of Children and Families
(DCF) and independently validated by the Monitor. DCF provides access to staff at all levels to enable the
Monitor to verify performance.

DCF’s capacity to accurately collect and analyze data and make it regularly available to the public has
significantly grown over the past several years. The Monitor first looks to the state’s data for analysis and
validates its accuracy. The Monitor also retains the authority to engage in independent data collection and
analysis where needed. Reflecting their increased capacity, DCF continues to expand the data that it publishes
on its public website.3 DCF also now publishes data regularly on the publicly accessible New Jersey Child
Welfare Data Hub, which was developed in collaboration with Rutgers University.4 The Data Portal, launched
in November 2016, allows users to create customized charts and graphs using New Jersey’s child welfare data,
and incorporates information from the formerly produced quarterly DCF Demographics Report.

Reports that DCF currently publishes on its website, the schedule for regular production of those reports and the
addition of new reports include:

        Commissioner’s Monthly Report5 – Current and produced monthly. This report gives a broad data
         snapshot of various DCF services. The report includes information from Child Protection & Permanency
         (CP&P), Office of Adolescent Services (OAS), Institutional Abuse Investigation Unit (IAIU),
         Children’s System of Care (CSOC), Family & Community Partnerships and the Division on Women.

        Screening and Investigations Report6 – Current and produced monthly. This report details State Central
         Registry (SCR) activity, including data regarding calls to the Child Abuse and Neglect Hotline,
         assignments to CP&P offices and trends in Child Protective Services (CPS) Reports and Child Welfare
         Services (CWS) Referrals.




1 Copies of all Monitoring Reports can be found at: http://www.cssp.org/publications/child-
welfare?type=child_welfare_class_action_reform&title=Child%20Welfare:%20Class%20Action%20Reform
2 The exceptions to this time frame were Monitoring Period XIII, which covered July 1, 2012 through March 31, 2013; Monitoring Period XIV,

which covered April 1 through December 31, 2013; and Monitoring Period XVII, which covered January 1 through December 31, 2015.
3 To see DCF’s public website, go to: http://www.state.nj.us/dcf/about/
4 To see the New Jersey Child Welfare Data Hub, go to: https://njchilddata.rutgers.edu/#home
5 To see all Commissioner’s Monthly Reports, go to: http://www.nj.gov/dcf/childdata/continuous/
6 To see all Screening and Investigations Reports, go to: http://www.nj.gov/dcf/childdata/protection/screening/


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        Workforce Report7 –To be produced annually; last report dated January 2018. This report provides
         information regarding the demographics and characteristics of current workers, as well as a variety of
         indicators of workforce planning and development, using fiscal year (FY) (July 1 – June 30) data.

        Children’s Interagency Coordinating Council Report8 – Current and produced monthly. This report
         details referral and service activity for CSOC. It also includes demographics, referral sources, reasons,
         resolutions and services provided.

        New Jersey Youth Resource Spot9 – Ongoing and updated as relevant. This website offers the latest
         resources, opportunities, news and events for young people. This site includes a list of current Youth
         Advisory Boards (YAB), as well as additional resources available in each county and statewide.

        DCF Needs Assessment10 – To be produced annually, with every county assessed at least once every
         three years. DCF produces annual reports on its website and reports twice annually to the Monitor. The
         final report of DCF’s multi-phase Needs Assessment process entitled DCF Needs Assessment 2018
         Report #3: Survey Findings and Synthesis updates interim findings to identify the resources needed to
         serve families with children at risk for entering out-of-home placement and those already in placement.
         Reports shall evaluate the need for additional placements and services to meet the needs of children,
         youth and their families involved with DCF.

        Adoptions Report11 – To be produced annually; last report dated 2016. This report reviews CP&P
         adoption data and practice related to SEP requirements. This report is based on calendar year (CY) data.

        Child Welfare Outcomes Report12 – Current and produced annually; last report dated May 2017. This
         report focuses on longitudinal, quantitative data measuring outcomes of children served by CP&P.

        Healthcare of Children in Out-of-Home Placement13 – To be produced annually; first report dated
         December 2017. This report reviews health indicators in the SEP and is based on state FY data.

        Our Work with Children, Youth and Families Report14 – To be produced annually; first report dated
         January 2018. This report analyzes DCF’s implementation of the Case Practice Model (CPM), largely
         utilizing annual data from the Qualitative Reviews (QRs) as well as selected quantitative data. This
         report uses qualitative data to uncover trends and provide insight into systems issues. The formerly
         produced annual QR report is incorporated into this report.



7 To see DCF’s Workforce Report: 2016-2017 Updates, go to http://www.nj.gov/dcf/childdata/exitplan/NJ.DCF.Workforce.Report-FY17.pdf. To see
DCF’s Workforce: Preliminary Highlights 2014-2015 Report, go to:
http://www.state.nj.us/dcf/childdata/orgdev/NJ.DCF.Workforce.Report_2015.pdf
8 To see all Children’s InterAgency Coordinating Council Reports, go to: http://www.nj.gov/dcf/childdata/interagency/
9 To see New Jersey’s Youth Resource Spot, go to: http://www.njyrs.org/
10 To see New Jersey’s CP&P Final Needs Assessment 2018 Report #3: Survey Findings and Synthesis, go to:

http://www.nj.gov/dcf/childdata/protection/DCF.Needs.Assessment.Phase.IV.Report-March2018.pdf. To see the prior CP&P Needs Assessment
reports, go to: http://www.nj.gov/dcf/childdata/protection/
11 To see New Jersey’s Adoptions Report, go to: http://www.nj.gov/dcf/childdata/exitplan/AdoptionReport2016.pdf
12 To see New Jersey’s Child Welfare Outcomes Report go to: http://www.nj.gov/dcf/childdata/exitplan/Outcomes.Report.and.Executive.Summary-

2017.pdf
13 To see New Jersey’s Healthcare of Children in Out-of-Home Placement 2017 report, go to:

http://www.nj.gov/dcf/news/reportsnewsletters/dcfreportsnewsletters/2017_Child.Health.Report.pdf
14 To see DCF’s Our Work with Children, Youth and Families 2017 Report, go to:

http://www.nj.gov/dcf/childdata/exitplan/Our.Work.with.Children.Young.Adults.and.Families-2017.pdf


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The Monitor engaged in the following verification activities for data collected from July – December 2017.

        Investigations Case Record Review

         The Monitor and DCF jointly conducted a case record review of a statistically valid random sample of
         331 child abuse and neglect investigations assigned to DCF Local Offices between October 1 and
         October 14, 2017, involving 518 alleged child victims. Reviewers examined the quality of practice and
         determined whether cases met the quality standard completely, substantially, marginally or not at all.
         Findings from this review are discussed in Section V.A – Investigations – of this report.

        Caseload Data Verification

         The Monitor conducted a telephone survey in January and February 2018 of 170 workers to verify their
         individual caseloads during the monitoring period. Findings from this review are discussed in Section
         V.L – Caseloads – of this report.

        Housing, Employment and Education Status Review for Older Youth Exiting Care

         The Monitor collaborated with DCF to review case records of 65 youth age 18 to 21 who exited care
         between July 1 and December 31, 2017 without achieving permanency. The review focused on the
         housing, education and employment status of these youth. Findings from the review are discussed in
         Section V.J – Older Youth – of this report.

        Family Team Meeting Data Review

         The Monitor reviewed 199 cases from July 1 to December 31, 2017 to look at documentation of Family
         Team Meetings (FTMs), specifically verifying instances in which workers determined that FTMs were
         not required in particular circumstances. The Monitor reviewed 86 cases in which workers documented
         that Initial FTMs within 45 days (SEP IV.B.16) were not required because the parent declined the
         meeting or was unavailable. The Monitor reviewed 82 cases in which workers documented that FTMs
         that should be held in the first 12 months of a child’s placement (SEP IV.B.17) were also not required
         because the parent declined the meeting or was unavailable. The Monitor reviewed 11 cases in which
         workers documented that FTMs after 12 months of placement when there is a goal of reunification (SEP
         IV.B.18) were similarly not required. The Monitor reviewed another 20 cases in which workers
         documented that FTMs after 12 months of placement when there is a goal other than reunification (SEP
         IV.B.19) were not required for the same reasons. Further discussion of current performance on these
         measures is included in Section V.B – Family Team Meetings – of this report.

        Visits Data Review

         The Monitor collaborated with DCF to review a statistically significant sample of 300 cases from
         September, October and November 2017 in which workers documented that caseworker contacts with
         parents with a reunification goal (SEP IV.F.28) were not required because a parent was unavailable or
         there were other circumstances outside of their control that prevented visits from occurring. The Monitor
         also collaborated with DCF to review a statistically significant sample of 253 cases from September,
         October and November 2017 in which workers documented that sibling visits (SEP IV.F.31) were not
         required because a child declined, a sibling was unavailable or there were other circumstances outside of
         their control. Findings are discussed in Section V.E – Visits – of this report.


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        State Central Registry

         The Monitor conducted a site visit at the offices of SCR in order to review the process of receiving and
         coding incoming calls to the Hotline. Staff listened in on calls, spoke with some SCR workers and
         supervisors and met with SCR leadership.

        Other Monitoring Activities

         The Monitor interviewed and/or visited multiple internal and external New Jersey child welfare system
         stakeholders, including staff at all levels, contracted service providers, youth, relatives, birth parents and
         advocacy organizations. The Monitor also attended DCF’s ChildStat meetings, as well as adolescent
         practice forums and Area Director meetings. The Monitor participates as reviewers in almost every
         scheduled statewide Qualitative Review (QR) throughout the year, and participated in the first QR
         Reviewer Workshop. DCF has fully cooperated with the Monitor in notifying Monitor staff of schedules
         and facilitating their participation in relevant activities.

Structure of the Report

Section II provides an overview of the state’s accomplishments and challenges during this monitoring period.
Section III provides summary performance data on each of the outcomes and performance measures required by
the SEP in Table 1: Charlie and Nadine H. v. Murphy Child and Family Outcome and Case Practice
Performance Measures. Section IV provides information related to the SEP Foundational Elements.15 Section V
provides more detailed data and discussion of performance on SEP Outcomes To Be Maintained and Outcomes
To Be Achieved in the following areas:

        Investigations of alleged child maltreatment (Section V.A);
        Implementation of DCF’s Case Practice Model; including Family Team Meetings, case planning and
         visits (Sections V.B, V.C & V.E);
        Educational engagement for children in out-of-home care (Section V.D);
        Placement of children in out-of-home settings (Section V.F);
        Efforts to achieve permanency for children either through reunification with family, legal guardianship
         or adoption (Section V.H);
        Provision of health care services to children, youth and families (Section V.I);
        Services to older youth (Section V.J);
        Caseloads (Section V.L);
        District Attorneys General Staffing (Section V.M);
        Accountability through the Qualitative Review and the production and use of accurate data (Section
         V.N);
        Needs Assessment (Section V.O); and
        Fiscal Year 2018 budget (Section V.P).




15The Foundational Elements requirements of the SEP intentionally recognize the state’s accomplishments in early implementation of the MSA. At
the Monitor’s discretion, based on a concern that a Foundational Element has not been sustained, the Monitor may request additional data. If the data
demonstrate a persistent problem, in the Monitor’s discretion, the state will propose and implement corrective action (SEP.II).
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II.      SUMMARY OF PERFORMANCE DURING JULY THROUGH DECEMBER 2017

The election of a new Governor and transition within New Jersey government has ushered in many changes in
the Department of Children and Families (DCF). The strong leadership and progress made during the almost
eight year tenure of outgoing Commissioner Allison Blake has laid the groundwork for continuing work to meet
the remaining requirements of the Settlement Agreement and fully ensure quality case practice for all children,
youth and families that come into contact with DCF.

In early January, Governor Phil Murphy nominated Christine Norbut Beyer, formerly a senior director for
Casey Family Programs (CFP), to lead DCF. Ms. Beyer began her career as an intern at the Division of Youth
and Family Services, DCF’s previous name, and rose to Assistant Commissioner before leaving for CFP in
2012. Her nomination was confirmed by the state senate on June 7, 2018. Other leadership changes at DCF
include the appointment of Katherine Stoehr as Deputy Commissioner of Operations. Prior to her four years
working as a consultant for the Annie E. Casey Foundation and other child welfare research organizations, Ms.
Stoehr served in diverse leadership roles at child and family service agencies, including Senior Vice President
of Performance, Strategy and Advocacy at Graham Windham and Assistant Commissioner for Program Policy
and Development at New York’s Administration for Children Services.

Carmen Diaz-Petti joins the DCF leadership team as Assistant Commissioner for the Division of Child
Protection & Permanency (CP&P). Ms. Diaz-Petti has served as Area Director for Hunterdon, Somerset,
Warren and Mercer Counties since January of 2015, and was previously the Local Office Manager (LOM) of
Somerset County. Ms. Diaz-Petti is known for her work to promote the Division’s Case Practice Model and
several quality improvement initiatives. Lisa von Pier, the highly regarded Assistant Commissioner for CP&P
for the last four years and former Assistant Commissioner for Family & Community Partnerships, will
transition to the Office of Strategic Development.

The new Commissioner’s stated focus, supported by the Monitor, places special emphasis on prevention of
child abuse and neglect and on improving the quality of DCF’s case practice. As discussed in this report, while
DCF has met many critical benchmarks of the Sustainability and Exit Plan (SEP), several newly met in this
monitoring period, multiple SEP quality measures lag behind, including in such key areas as case planning and
teaming with families’ formal and informal supports. This presents a formidable yet achievable goal. Raising
the bar on the quality of case practice has challenged many jurisdictions nationwide undergoing reform efforts.
DCF has built the necessary foundation, but it will take deliberate attention to the core elements of case practice
that continue to require improvement, including fully engaging with youth and families, developing timely and
meaningful case plans and purposeful communication among caseworkers, team members, children, youth and
families to implement those plans.

The monitoring report supports the significant progress DCF made this monitoring period on key requirements
of the SEP. Solid performance was maintained on each of the SEP Foundational Elements in such important
areas as manageable caseloads for workers, pre- and in-service training for child welfare staff, supervisors and
managers, and the provision of health care for children in out of home placement.




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DCF ended the current monitoring period having met 41 of 48 SEP performance measures.16,17 Of the seven
remaining Outcomes To Be Achieved, three directly measure core elements of case practice (teaming, quality of
case plans and services to support transitions); one measures visits between workers and parents when a child’s
goal is reunification; one measures visits between children and siblings when they are placed apart, and two are
outcomes measures regarding reentry to placement for children who return home and timely permanency within
24 months for a cohort of children in care.18

Significantly, DCF newly met five SEP measures this monitoring period: the quality of investigations of alleged
child abuse and neglect; completing a required multi-year Needs Assessment; achieving timely permanency
with 36 and within 48 months, respectively, for two cohorts of children in care; and one of the Family Team
Meeting (FTM) measures.19 Each of these is a significant accomplishment and, collectively, they reflect the
ongoing work of many people in DCF and those with whom they work to improve child welfare services and
outcomes for New Jersey’s children, youth and families.

The discussion below highlights current performance within specific content areas.

Investigations of Alleged Child Abuse and Neglect

The State Central Registry (SCR) continues to operate professionally, efficiently and effectively; reports of
alleged abuse and neglect are appropriately screened and timely forwarded to the field for investigation.
Investigative staff continue to be well trained. In March 2018, DCF and the Monitor assessed the quality of
investigative practice in a random sample of 331 Child Protective Services (CPS) investigations assigned to
DCF Local Offices between October 1 and 14, 2017. This review typically occurs every two years. Overall,
reviewers found that 301 (91%) of the investigations were of acceptable quality, meeting the SEP standard for
the first time. This is a significant achievement and one that clearly demonstrates the progress DCF has made
over the course of the reform effort.

Permanency

Though safe family reunification is always preferred for children in out-of-home placement, permanency for
children can be achieved through a number of different avenues, including kinship/guardianship and adoption.
There are four SEP measures related to permanency. As of January 2017, one measure was designated as To Be

16 These measures include: Institutional Abuse Investigations Unit (IAIU) (III.A.1); Timeliness of Investigation Completion (60 days) (SEP
IV.A.13); Timeliness of Investigation Completion (90 days) (SEP IV.A.14); Quality of Investigations (SEP IV.A.15); Initial Family Team Meeting
(SEP IV.B.16); Subsequent FTMs within 12 months (SEP IV.B.17); Subsequent FTMs after 12 months – Reunification Goal (SEP IV.B.18);
Subsequent FTMs after 12 months – Other than Reunification Goal (SEP IV.B.19); Needs Assessment (SEP IV.C.21); Initial Case Plans (SEP
IV.D.22); Supervisor/Worker Ratio (III.B.2); IAIU Investigators Caseload (III.B.3); Permanency Workers (Local Offices) Caseload (III.B.4);
Permanency Workers Caseload (III.B.5); Intake Workers (Local Offices) (SEP IV.E.24); Intake Workers (SEP IV.E.25); Adoption Local Office
Caseload (SEP IV.E.26); Adoption Workers (SEP IV.E.27); Timeliness of Current Plans (III.C.6); Adequacy of DAsG Staffing (III.D.7); Child
Health Units (III.E.8); Parent-Child Visits – weekly (SEP IV.F.29); Parent-Child Visits – bi-weekly (SEP IV.F.30); Caseworker Contacts with
Children – New Placement/Placement Changes (III.F.9); Caseworker Contact with Children in Placement (III.F.10); Placing Siblings Together (SEP
IV.G.32); Placing Siblings Together for Four or More Children (SEP IV.G.33); Recruitment of Placements for Sibling Groups of Four or More (SEP
IV.G.34); Placement Stability for first 12 months in care (SEP IV.G.35); Placement Stability 13-24 Months in Care (SEP IV.G.36); Educational
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months (SEP IV.I.43); Independent Living Assessments (SEP IV.K.45); Quality of Case Planning and Services (SEP IV.K.46); Housing for Older
Youth Exiting to Non-Permanency (SEP IV.K.47); and Employment/Education for Older Youth Exiting to Non-Permanency (SEP IV.K.48).
17 Initial Case Plans (SEP IV.D.22) and Placing Siblings Together (SEP IV.G.32) were not met this monitoring period, though the Monitor will wait

to review data from the period January 1 through June 30, 2018 before recommending a change in categorization for these measures.
18 These measures are: Quality of Teaming (SEP IV.B.20); Quality of Case Plans (SEP IV.D.23); Services to Support Transition (SEP IV.J.44); Re-

Entry to Placement (SEP IV.H.39); Permanency within 24 Months (SEP IV.I.41); Caseworker Contacts with Family when Goal is Reunification
(SEP IV.F.28); and Sibling Visits (SEP IV.F.31).
19 These measures include: Quality Investigations (SEP IV.A.15); Subsequent FTMs after 12 months – Other than Reunification Goal (SEP IV.B.19);

Needs Assessment (SEP IV.C.21); Permanency within 36 Months (SEP IV.I.42); and Permanency Within 48 Months (SEP IV.I.43).
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Maintained – achieving permanency within 12 months (SEP IV.I.40) – and three measures were To Be
Achieved – achieving permanency within 24 months (SEP IV.I.41), 36 months (SEP IV.I.42) and 48 months
(SEP IV.I.43) respectively. According to the most recent data available, DCF for the first time achieved the SEP
standards for permanency within 36 months and for permanency within 48 months for children in out-of-home
placement. This is an important achievement. DCF remains close to meeting the standard for achieving
permanency for the cohort of children in out-of-home care within 24 months.

DCF has not met the SEP standard for re-entry into foster care, measured for children in foster care who are
reunified with their families, but who return to foster care within a year of their return home (SEP IV.H.39).

Appropriate Placements and Services

DCF continues to maintain an adequate pool of placement resource homes and group settings to meet the needs
of children in out-of-home settings, as described in more detail in Section V.F.

As of December 31, 2017, 6,191 children were in out-of-home placement: 5,608 (91%) of whom were in
family-like settings (53% placed in non-kinship resource family homes and 38% in kinship homes). Eight
percent of children were placed in group and residential settings and two percent were in independent living
programs. Between July and December 2017, DCF recruited and licensed 583 new kinship and non-kinship
resource family homes; 329 (56%) were kinship homes and 254 (44%) were non-kinship homes. As of
December 31, 2017, there were a total of 4,484 licensed resource family homes in the state, 1,552 (35%) of
which were kinship homes.

As described in more detail in Section V.F, DCF continues its recruitment planning and targeting processes,
with a particular focus on tailoring recruitment towards homes willing and able to accommodate large sibling
groups. As of December 31, 2017, there were a total of 92 large capacity Siblings in Best Placement Settings
(SIBS) homes: 21 homes with a capacity to accommodate five or more children and 71 homes that could
accommodate four children.

Family Team Meetings

Family Team Meetings (FTMs) are an integral component of DCF’s Case Practice Model. FTMs are used to
bring families, providers, formal and informal supports together to exchange information, participate in case
planning, coordinate and follow up on services and examine and track progress toward accomplishing case plan
goals. Meetings are scheduled according to the family’s availability in an effort to involve as many family
members and supports as possible. As discussed in Section V.B, the SEP includes five performance measures
pertaining to FTMs, three of which have previously been met and are designated as Outcomes To Be
Maintained: the requirement that FTMs be held within 45 days of a child’s removal (SEP IV.B.16); the
requirement that for children in out-of-home placement, at least three additional FTMs after the initial FTM be
held within the first 12 months of placement (SEP IV.B.17); and the requirement that children in care after 12
months with the goal of reunification have at least three FTMs each year (SEP IV.B.18).

Between July and December 2017, in response to the Monitor’s request for a corrective action plan due to
declines in performance on FTMs for children in placement with a goal of reunification (SEP IV.B.18), DCF’s
Case Practice Liaisons (CPLs) worked with Local Office staff to improve FTM case practice. CPLs also
focused on documentation of FTMs that occurred, as well as instances in which they failed to occur due to the
parent being unavailable or declining to attend. In addition, in October 2017, CP&P held a convening of FTM
master coaches and FTM coordinators to share effective strategies to improve performance in this area. Based
on verified monthly data, DCF met the performance standard for FTMs within 12 Months (SEP IV.B.17) in four

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of six months in the monitoring period, which is an improvement from the previous period. DCF also improved
performance on FTMs after 12 Months with a Reunification Goal (SEP IV.B.18), exceeding the standard in four
of six months, suggesting that the strategies DCF identified to diagnose and address barriers contributed to
improved FTM performance overall.

For the first time this monitoring period, DCF has met the SEP target requiring that for children with a goal
other than reunification, two FTMs be held each year after the first 12 months of placement (SEP IV.B.19).
Further, while performance improved from the previous monitoring period, DCF needs to continue to focus on
Quality of Teaming (SEP IV.B.20) as it works on behalf of children and families.

Visits with children, parents and siblings

Purposeful visits between children in foster care and their workers, parents and siblings are fundamental to
successful child welfare practice. The visits provide a means to ensuring children’s safety and well-being, and
to strengthening families and achieving permanency. As discussed in Section V.E, the SEP includes six
performance measures related to visits, four of which have been previously met and are designated as Outcomes
To Be Maintained. DCF maintained satisfactory performance this monitoring period with respect to these four
SEP measures, exceeding requirements for caseworker visits with children in both new and ongoing placements
(SEP III.F.9 and III.F.10, respectively), and both weekly and biweekly visits between children and their parents
(SEP IV.F.29 and IV.F.30, respectively).

DCF improved its performance this monitoring period on caseworker visits with children in new placements
(SEP III.F.9). The SEP standard was met in every month for the first time since entering into the SEP. DCF has
not yet met the SEP measures that relate to caseworker contact with families with a reunification goal (SEP
IV.F.28) and sibling visits (SEP IV.F.31).

Services to Older Youth

Under the leadership of the Office of Adolescent Services (OAS), DCF has maintained its practice with respect
to the older youth in its care. As discussed in Section V.J, the SEP includes four performance measures related
to DCF’s work with older youth, all of which were previously met and designated as Outcomes To Be
Maintained. Between July and December 2017, DCF maintained satisfactory performance with respect to
housing (SEP IV.K.47) and education and employment for youth exiting care without achieving permanency
(SEP IV.K.48). DCF again met the standard for ensuring youth age 14 to 18 engage in Independent Living
Assessments (SEP IV.K.45). DCF’s quality work to support adolescents and older youth is also reflected in its
performance with respect to the quality of case planning and services for older youth (SEP IV.K.46).




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Accountability for Case Practice

Qualitative Reviews

DCF conducts Qualitative Reviews (QRs) of a random sample of cases each year to measure the quality of its
work, to hold itself accountable for practicing in accordance with its Case Practice Model and for consistently
achieving results for children, youth and families. As described further in Section V.N, through the QR process,
trained two-person review teams – including DCF staff at various levels, community stakeholders and Monitor
staff – review CP&P records and interview as many people as possible who are involved with the children,
youth and families served by DCF, whether the children remain in the home or are in placement. Randomly
selected cases from each county are reviewed once every two years as part of a robust and well supported
performance improvement process.

Between January and December 2017, DCF continued to use the new QR protocol created in CY 2015, in its
review of 193 cases across 11 counties.20,21 Ratings from the 2017 QR reviews showed that the status of
children, youth and families served by DCF continued to be rated acceptable in the majority of cases in key
areas including physical health of the child, safety and living arrangement. Performance in some areas of
practice/system performance also continued to be rated acceptable, such as on engagement of the child,
engagement of the resource family, assessment and understanding of the child, assessment and understanding
of the resource family and provision of health care services.

In other key practice areas, such as on the indicators that measure teamwork and coordination, case planning,
plan implementation, engagement of the mother, assessment and understanding of the mother, assessment and
understanding of the father and engagement of the father, performance between January and December 2017
was rated below acceptable levels. These are areas requiring improvement, particularly given that these aspects
of practice play a role in many other SEP performance measures.




20 Qualitative Reviews were conducted in Atlantic, Bergen, Camden, Cape May, Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and
Warren counties.
21 To read more about the changes made to the QR protocol, see Section V.N of the Progress of the New Jersey Department of Children and Families

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III.      CHILD AND FAMILY OUTCOMES AND CASE PRACTICE PERFORMANCE MEASURES

The child and family outcomes and case practice performance measures are 48 measures and Foundational
Elements that assess the state’s performance in meeting the requirements of the SEP (see Table 1). These
performance measures cover the areas of child safety, permanency, service planning, child well-being and
ongoing infrastructure development pertaining to core elements such as appropriate staffing, caseloads and
training.

Many of the measures are assessed through a review of data from NJ SPIRIT22 and SafeMeasures,23 and, in
some areas, these data are independently validated by the Monitor. Data are also provided through DCF’s work
with Rutgers University,24 which assists with data analysis. With few exceptions, performance data provided in
this report are as of December 2017.




22 NJ SPIRIT is New Jersey’s State Comprehensive Child Welfare Information System (CCWIS), a case management and financial system designed
to support the daily work of caseworkers and supervisors within DCF.
23 SafeMeasures is a data warehouse and analytical tool that allows tracking of critical child welfare indicators by worker, supervisor, Local Office,

county and statewide. It is used by different levels of staff to track, monitor and analyze performance and trends in case practice and targeted
measures and outcomes.
24 DCF transferred this function from Hornby Zeller Associates, Inc. to Rutgers in July 2017.


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                           Table 1: Charlie and Nadine H. Child and Family Outcome and Case Practice Performance Measures
                                                   (Summary of Performance as of December 31, 2017)


                                                                                Table 1A: To Be Achieved

                          Quantitative or
       SEP                                              Sustainability and                      June 2017                         December 2017                    Requirement Fulfilled
                           Qualitative
     Reference                                          Exit Plan Standard                     Performance                        Performance25                     (Yes/No/Partially)26
                            Measure
                                                                                         Investigations
                                                      85% of investigations shall
                                                      meet the standards for                                                A review of a statistically
                                                      quality investigations. The       NA: quality measured                significant sample of
                                                      Monitor, in consultation          through an Investigation Case       investigations completed in
 IV.A.15               Quality Investigations                                                                                                                                    Yes
                                                      with the parties, shall           Record Review, typically            October 2017 found that 91%
                                                      determine appropriate             conducted every two years.          of investigations met quality
                                                      standards for quality                                                 standards.27
                                                      investigations.
                                                                                       Family Teaming
                                                                                        In June 2017, 94% of                In December 2017, 100% of
                                                                                        children with a goal other          children with a goal other than
                                                      After the first 12 months of
                                                                                        than reunification had two or       reunification had two or more
                                                      a child being in care, for
                       Subsequent FTMs after                                            more FTMs after 12 months           FTMs after 12 months of
                                                      those children with a goal
 IV.B.19               12 months – Other than                                           of placement. Monthly range         placement. Monthly range                             Yes
                                                      other than reunification,
                       Reunification Goal                                               during January – June 2017          during July – December 2017
                                                      90% shall have at least two
                                                                                        monitoring period: 83 to 94%        monitoring period: 88 to 100%
                                                      FTMs each year.
                                                                                        (does not account for               (accounts for acceptable
                                                                                        acceptable exceptions).28           exceptions).29




25 In some instances where the Monitor does not have December 2017 data, the most recent data available are included.
26 “Yes” indicates that, in the Monitor’s judgment, based on presently available information, DCF has fulfilled its obligations regarding the requirement under the SEP. “No” indicates that, in the
Monitor’s judgment, DCF has not fulfilled its obligation regarding the SEP requirement.
27 The Monitor and DCF reviewed 331 investigations. Reviewers could select four possible responses to the question of the quality of the investigation which included completely, substantially,

marginally and not at all. Completely and substantially responses are considered as having met quality standards. The results have a +/- 5% marginal error with 95% confidence.
28 Reported performance may understate actual performance because data do not account for all instances in which a FTM was not required.
29 Monthly performance is as follows: July, 88%; August, 88%; September, 98%; October, 97%; November, 96%; December, 100%. Reported performance accounts for valid exceptions to the FTM

requirement. The Monitor reviewed all 20 cases in which there was documentation of an exception to the FTM requirement and excluded from these data all instances (for each month) in which it
determined that an exception was appropriately used. Data for this period are not comparable to data reported in the previous monitoring period given that similar exclusions were not made.
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                                                                                 Table 1A: To Be Achieved

                             Quantitative or
        SEP                                               Sustainability and                     June 2017                         December 2017            Requirement Fulfilled
                              Qualitative
      Reference                                           Exit Plan Standard                    Performance                        Performance25             (Yes/No/Partially)26
                               Measure




                                                        75% of cases involving
                                                        out-of-home placements
                                                        that were assessed as part
                                                        of the QR process will
                                                        show evidence of both
                                                                                                                            59% of cases rated acceptable
                                                        acceptable team formation            CY 2017 data not yet
 IV.B.20                  Quality of Teaming                                                                                on QR indicator teamwork and             No
                                                        and acceptable functioning.              available.
                                                                                                                            coordination (CY 2017).30,31
                                                        The Monitor, in
                                                        consultation with the
                                                        parties, shall determine the
                                                        standards for quality team
                                                        formation and functioning.




30   Eighty-six of the 145 (59%) applicable cases reviewed for Quality of Teaming were rated acceptable on the teamwork and coordination indicator.
31   All in-home cases were excluded from this measure.
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                                                                          Table 1A: To Be Achieved

                         Quantitative or
     SEP                                             Sustainability and                  June 2017                     December 2017                Requirement Fulfilled
                          Qualitative
   Reference                                         Exit Plan Standard                 Performance                    Performance25                 (Yes/No/Partially)26
                           Measure
                                                                                  Needs Assessment




                                                                                                                 Between July and December
                                                   The state shall regularly                                     2017, DCF completed the final
                                                   evaluate the need for                                         piece of the state’s multi-year
                                                                                  In May 2017, Rutgers
                                                   additional placements and                                     Needs Assessment process. In
                                                                                  released the Needs
                                                   services to meet the needs                                    order to further understand the
                                                                                  Assessment Report #2, which
                                                   of children in custody and                                    needs and potential gaps in
                                                                                  summarized Phase III of the
                                                   their families and to                                         services for children, youth and
                                                                                  needs assessment process.
                                                   support intact families and                                   families involved or at risk of
                                                                                  Additionally, between
                                                   prevent the need for out-of-                                  involvement with DCF,
                                                                                  January and June 2017, DCF
                                                   home care. Such needs                                         researchers at the Child Well-
                                                                                  and Rutgers continued
 IV.C.21              Needs Assessment             assessments shall be                                          Being Unit at Rutgers School of             Yes
                                                                                  development of three surveys
                                                   conducted on an annual,                                       Social Work conducted almost
                                                                                  to assess family needs and
                                                   staggered basis that assures                                  2,000 surveys with CP&P
                                                                                  services around 10 domains
                                                   that every county is                                          intake and permanency unit
                                                                                  as part of Phase IV of a
                                                   assessed at least once every                                  staff, resource parents and
                                                                                  multi-year process. Rutgers
                                                   three years. The state shall                                  families of origin.
                                                                                  piloted the staff survey
                                                   develop placements and                                        DCF’s evaluation of these
                                                                                  during this monitoring
                                                   services consistent with the                                  surveys is publicly available in
                                                                                  period.
                                                   findings of these needs                                       its DCF Needs Assessment
                                                   assessments.                                                  2018 Report #3: Survey
                                                                                                                 Findings and Synthesis.




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                                                                                Table 1A: To Be Achieved

                          Quantitative or
       SEP                                              Sustainability and                      June 2017                          December 2017                   Requirement Fulfilled
                           Qualitative
     Reference                                          Exit Plan Standard                     Performance                         Performance25                    (Yes/No/Partially)26
                            Measure
                                                                                Case and Service Planning
                                                      80% of case plans shall be
                                                      rated acceptable as
                                                                                                                            53% of cases rated acceptable
                                                      measured by the QR
                                                                                                                            on both QR indicators child and
                                                      process. The Monitor, in              CY 2017 data not yet
 IV.D.23               Quality of Case Plans                                                                                family planning process and                          No
                                                      consultation with the                     available.
                                                                                                                            tracking and adjusting.32 (CY
                                                      parties, shall determine that
                                                                                                                            2017)
                                                      standards for quality case
                                                      planning.

                                                                                               Visits

                                                                                        In June 2017, 71% of                In December 2017, 75% of
                                                                                        applicable parents of children      applicable parents of children
                                                      90% of families will have         in custody with a goal of           in custody with a goal of
                                                      at least twice-per-month,         reunification had at least two      reunification had at least two
                       Caseworker Contacts
                                                      face-to-face contact with         face-to-face visits with a          face-to-face visits with a
 IV.F.28               with Family When Goal                                                                                                                                     No
                                                      their caseworker when the         caseworker. Monthly range           caseworker. Monthly range
                       is Reunification
                                                      permanency goal is                during January – June 2017          during July – December 2017
                                                      reunification.                    monitoring period: 70 to 76%        monitoring period: 72 to 77%
                                                                                        (does not account for               (accounts for acceptable
                                                                                        acceptable exceptions).33           exceptions).34




32 One hundred and ninety-three cases were reviewed as part of the QR conducted between January and December 2017. One hundred and two cases (53%) in and out-of-home cases were rated
acceptable on both the child and family planning process and the tracking and adjusting indicators; 110 cases (57%) were rated acceptable on child and family planning process and 131 (68%) of
cases were rated acceptable on tracking and adjusting.
33 Reported performance may understate actual performance because data do not account for instances in which contact with a caseworker is not required.
34 Monthly performance is as follows: July, 72%; August, 74%; September, 75%; October, 77%; November, 74%; December, 75%. Reported performance accounts for valid exceptions to the visits

requirement. The Monitor and DCF completed a joint validation of a statistically significant sample of three months and found that exceptions were appropriately applied in 36% of cases. Therefore,
these data reflect exclusions from the universe of cases of instances in which exceptions to the requirement for worker visits with parents were appropriately applied and documented. Data for this
period are not comparable to data reported in the previous monitoring period given that similar exclusions were not made.
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                                                                               Table 1A: To Be Achieved

                          Quantitative or
       SEP                                             Sustainability and                      June 2017                          December 2017                   Requirement Fulfilled
                           Qualitative
     Reference                                         Exit Plan Standard                     Performance                         Performance25                    (Yes/No/Partially)26
                            Measure

                                                      85% of children in custody
                                                      who have siblings with
                                                                                       In June 2017, 73% of
                                                      whom they are not residing                                           In December 2017, 80% of
                                                                                       children in custody who have
                                                      will visit those siblings at                                         children in custody who have
                                                                                       siblings with whom they are
                                                      least monthly, excluding                                             siblings with whom they are not
                                                                                       not residing visited their
                                                      those situations where a                                             residing visited with their
 IV.F.31               Child Visits with                                               siblings within the month.
                                                      court order prohibits or                                             siblings within the month.                           No
                       Siblings                                                        Monthly range during
                                                      regulates visits or there is                                         Monthly range during July –
                                                                                       January – June 2017
                                                      supervisory approval of a                                            December 2017 monitoring
                                                                                       monitoring period: 73 to 75%
                                                      decision to cancel a visit                                           period: 74 to 80% (accounts for
                                                                                       (does not account for
                                                      because it is physically or                                          acceptable exceptions).36
                                                                                       acceptable exceptions).35
                                                      psychologically harmful to
                                                      a child.


                                                                                         Maltreatment

                                                      Of all children who enter
                                                      foster care in a 12 month                                            For CY 2015, 11.2% of
                                                      period for the first time                                            children who entered foster
                                                      who are discharged within                                            care for the first time who were
                                                      12 months to reunification,           CY 2015 data not yet           discharged within 12 months to
 IV.H.39               Re-Entry to Placement                                                                                                                                    No
                                                      living with relative(s), or               available.                 reunification, living with
                                                      guardianship, no more than                                           relative(s), or guardianship re-
                                                      9% will re-enter foster care                                         entered foster care within 12
                                                      within 12 months of their                                            months of their discharge.
                                                      discharge.




35Reported performance may understate actual performance because data do not account for instances in which a visit is not required.
36Monthly performance is as follows: July, 79%; August, 79%; September, 75%; October, 75%; November, 74%; December, 80%. Reported performance accounts for valid exceptions to the visits
requirement. The Monitor and DCF completed a joint validation of a statistically significant sample of three months and found that exceptions were appropriately applied and documented in 60% of
cases. Therefore, these data reflect the exclusions of instances in which exceptions to the requirement for sibling visits were appropriately applied and documented. Data for this period are not
comparable to data reported in the previous monitoring period given that similar exclusions were not made.
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                                                                           Table 1A: To Be Achieved

                         Quantitative or
     SEP                                             Sustainability and                  June 2017                December 2017              Requirement Fulfilled
                          Qualitative
   Reference                                         Exit Plan Standard                 Performance               Performance25               (Yes/No/Partially)26
                           Measure
                                                                                  Timely Permanency

                                                   Of all children who enter
                                                   foster care in a 12-month                                 For CY 2015, 64% of children
                                                   period, at least 66% will be                              who entered foster care were
                                                   discharged to permanency                                  discharged to permanency
                      Permanency Within 24                                            CY 2015 data not yet
 IV.I.41                                           (reunification, living with                               (reunification, living with              No
                      Months                                                              available.
                                                   relatives, guardianship or                                relative(s), guardianship or
                                                   adoption) within 24                                       adoption) within 24 months of
                                                   months of entering foster                                 entering foster care.
                                                   care.


                                                   Of all children who enter
                                                   foster care in a 12-month                                 For CY 2014, 80% of children
                                                   period, at least 80% will be                              who entered foster care were
                                                   discharged to permanency                                  discharged to permanency
                      Permanency Within 36                                            CY 2014 data not yet
 IV.I.42                                           (reunification, living with                               (reunification, living with              Yes
                      Months                                                              available.
                                                   relatives, guardianship or                                relative(s), guardianship or
                                                   adoption) within 36                                       adoption) within 36 months of
                                                   months of entering foster                                 entering foster care.
                                                   care.


                                                   Of all children who enter
                                                   foster care in a 12-month                                 For CY 2013, 86% of children
                                                   period, at least 86% will be                              who entered foster care were
                                                   discharged to permanency                                  discharged to permanency
                      Permanency Within 48                                            CY 2013 data not yet
 IV.I.43                                           (reunification, living with                               (reunification, living with              Yes
                      Months                                                              available.
                                                   relatives, guardianship or                                relative(s), guardianship or
                                                   adoption) within 48                                       adoption) within 48 months of
                                                   months of entering foster                                 entering foster care.
                                                   care.



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                                                                                   Table 1A: To Be Achieved

                             Quantitative or
        SEP                                                Sustainability and                      June 2017                        December 2017             Requirement Fulfilled
                              Qualitative
      Reference                                            Exit Plan Standard                     Performance                       Performance25              (Yes/No/Partially)26
                               Measure
                                                                                 Services to Support Transition

                                                         80% of cases will be rated
                                                         acceptable for supporting
                                                         transitions as measured by
                                                                                                                              59% of cases rated acceptable
                          Services to Support            the QR. The Monitor, in                CY 2017 data not yet
 IV.J.44                                                                                                                      on QR indicator successful               No
                          Transition                     consultation with the                      available.
                                                                                                                              transitions.37 (CY 2017)
                                                         parties, shall determine the
                                                         standards for quality
                                                         support for transitions.




37   Seventy-five of the 128 (59%) applicable cases reviewed were rated acceptable on the successful transitions indicator.
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                                                                               Table 1B: To Be Maintained

                                                                                                                                                                           Requirement
                        Quantitative or                 Sustainability and Exit                                                         December 2017
     Reference                                                                                June 2017 Performance                                                        Maintained
                      Qualitative Measure                   Plan Standard                                                                Performance
                                                                                                                                                                            (Yes/No)38
                                                                                          Investigations


                      Institutional Abuse                                                     In June 2017, 85% of IAIU            In December 2017, 82% of
                                                      80% of IAIU investigations will
     III.A.1          Investigations Unit                                                     investigations were completed        IAIU investigations were                       Yes
                                                      be completed within 60 days.
                      (IAIU)                                                                  within 60 days.                      completed within 60 days.




                                                      85% of all investigations of                                                 In November 2017, 83% of
                                                                                              In May 2017, 84% of all
                                                      alleged child abuse and neglect                                              all investigations were
                                                                                              investigations were completed
                      Timeliness of                   shall be completed within 60                                                 completed within 60 days.
                                                                                              within 60 days. Monthly range
     IV.A.13          Investigation Completion        days. Cases with documented                                                  Monthly range during June                      Yes
                                                                                              during December 2016 – May
                      (60 days)                       acceptable extensions in                                                     – December 2017
                                                                                              2017 monitoring period: 84 to
                                                      accordance with policy are                                                   monitoring period: 83 to
                                                                                              86%.
                                                      considered compliant.                                                        87%.39



                                                      95% of all investigations of                                                 In November 2017, 95% of
                                                      alleged child abuse and neglect                                              all investigations were
                                                                                              In May 2017, 95% of all
                      Timeliness of                   shall be completed within 90                                                 completed within 90 days.
                                                                                              investigations were completed
     IV.A.14          Investigation Completion        days. Cases with documented                                                  Monthly range during June                      Yes
                                                                                              within 90 days. Monthly range
                      (90 days)                       acceptable extensions in                                                     – November 2017
                                                                                              remained consistent at 95%.
                                                      accordance with policy are                                                   monitoring period: 94 to
                                                      considered compliant.                                                        96%.40




38 “Yes” indicates that, in the Monitor’s judgment based on presently available information, DCF has fulfilled its obligations regarding the requirement under the SEP. The Monitor has also
designated “Yes” for a requirement where DCF has met or is within one percentage point of the SEP standard or there are a small number of cases causing the failure to meet the SEP standard.
39 Due to the time lag of this measure, the Monitor and DCF decided to alter the period of review, so June 2017 data are included for this period and December 2017 data will be included in the next

monitoring report. Monthly performance for this measure is as follows: June, 86%; July, 85%; August, 85%; September, 86%; October, 87%; November, 83%.
40 Due to the time lag of this measure, the Monitor and DCF decided to alter the period of review, so June 2017 data are included for this period and December 2017 data will be included in the next

monitoring report. Monthly performances for this measure is as follows: June, 95%; July, 94%; August, 94%; September, 96%; October; 95%; November, 95%.
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                                                                              Table 1B: To Be Maintained

                                                                                                                                                                         Requirement
                        Quantitative or                 Sustainability and Exit                                                       December 2017
     Reference                                                                               June 2017 Performance                                                       Maintained
                      Qualitative Measure                   Plan Standard                                                              Performance
                                                                                                                                                                          (Yes/No)38
                                                                                       Family Teaming
                                                                                                                                  In December 2017, 91% of
                                                                                             In June 2017, 84% of children
                                                                                                                                  children newly entering
                                                                                             newly entering placement had
                                                                                                                                  placement had a FTM
                                                     80% of children newly entering          a FTM within 45 days of
                                                                                                                                  within 45 days of entering
                     Initial Family Team             placement shall have a family           entering placement. Monthly
     IV.B.16                                                                                                                      placement. Monthly range                      Yes
                     Meeting                         team meeting before or within           range during January – June
                                                                                                                                  during July – December
                                                     45 days of placement.                   2017 monitoring period: 82 to
                                                                                                                                  2017 monitoring period:
                                                                                             92% (does not account for
                                                                                                                                  86% to 91% (accounts for
                                                                                             acceptable exceptions).41
                                                                                                                                  acceptable exceptions).42

                                                                                                                                  In December 2017, 83% of
                                                                                             In June 2017, 74% of children
                                                                                                                                  children had three or more
                                                                                             had three or more additional
                                                     80% of children will have three                                              additional FTMs within the
                                                                                             FTMs within the first 12
                     Subsequent FTMs within          additional FTMs within the first                                             first 12 months of
     IV.B.17                                                                                 months of placement. Monthly                                                       Yes44
                     12 months                       12 months of the child coming                                                placement. Monthly range
                                                                                             range during January – June
                                                     into placement.                                                              during July – December
                                                                                             2017 monitoring period: 68 to
                                                                                                                                  2017 monitoring period: 72
                                                                                             87%.
                                                                                                                                  to 84%.43




41 Reported performance may understate actual performance because data do not exclude all instances in which a FTM is not required.
42 Monthly performance for this measure is as follows: July, 89%; August, 88%; September, 89%; October, 87%; November, 86%; December, 91%. Reported performance accounts for valid
exceptions to the FTM requirement. The Monitor reviewed all 86 cases in which there was documentation of an exception to the FTM requirement and excluded from these data all instances (for each
month) in which it determined that an exception was appropriately used. Data for this period are not comparable to data reported in the previous monitoring period given that similar exclusions were
not made.
43 Monthly performance for this measure is as follows: July, 78%; August, 72%; September, 84%; October, 82%; November, 83%; December 83%. Reported performance accounts for valid

exceptions to the FTM requirement. The Monitor reviewed all 82 cases in which there was documentation of an exception to the FTM requirement and excluded from these data all instances (for each
month) in which it determined that an exception was appropriately used.
44 The Monitor considers this to be an insubstantial fluctuation in performance.


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                                                                             Table 1B: To Be Maintained

                                                                                                                                                                      Requirement
                       Quantitative or                Sustainability and Exit                                                       December 2017
     Reference                                                                             June 2017 Performance                                                      Maintained
                     Qualitative Measure                  Plan Standard                                                              Performance
                                                                                                                                                                       (Yes/No)38
                                                                                                                               In December 2017, 85% of
                                                                                           In June 2017, 75% of children       children with a goal of
                                                    After the first 12 months of a         with a goal of reunification        reunification had three or
                     Subsequent FTMs after          child being in care, 90% of those      had three or more FTMs after        more FTMs after 12
     IV.B.18         12 months –                    with a goal of reunification will      12 months of placement.             months of placement.                          Yes
                     Reunification Goal             have at least three FTMs each          Monthly range during January        Monthly range during July
                                                    year.                                  – June 2017 monitoring              – December 2017
                                                                                           period: 67 to 94%.                  monitoring period: 85 to
                                                                                                                               100%.45

                                                                              Case and Service Planning

                                                                                                                               In December 2017, 94% of
                                                                                           In June 2017, 85% of children
                                                                                                                               children entering care had
                                                                                           entering care had case plans
                                                    95% of initial case plans for                                              case plans developed
                                                                                           developed within 30 days.
     IV.D.22         Initial Case Plans             children and families shall be                                             within 30 days. Monthly                      No47
                                                                                           Monthly range during January
                                                    completed within 30 days.                                                  range during July –
                                                                                           – June 2017 monitoring
                                                                                                                               December 2017 monitoring
                                                                                           period: 85 to 96%.
                                                                                                                               period: 89 to 95%.46

                                                                                          Caseloads
                                                    95% of offices will have
                                                                                                                               100% of Local Offices
                                                    sufficient supervisory staff to        100% of Local Offices have
     III.B.2         Supervisor/Worker Ratio                                                                                   have sufficient supervisory                   Yes
                                                    maintain a 5 worker to 1               sufficient supervisory staff.
                                                                                                                               staff.
                                                    supervisor ratio.




45 Monthly performance for this measure is as follows: July, 90%; August, 100%; September, 93%; October, 100%; November, 88%; December, 85%. Reported performance accounts for valid
exceptions to the FTM requirement. The Monitor reviewed all 11 cases in which there was documentation of an exception to the FTM requirement and excluded from these data all instances (for each
month) in which it determined that an exception was appropriately used.
46 Monthly performance for this measure is as follow: July, 93%; August, 89%; September, 95%; October, 89%; November, 94%; December, 94%.
47 As part of the corrective action plan requested for this measure in the prior monitoring period, DCF reviewed a random selection of cases and found that many case plans were completed just

outside the 30-day window. The Central Office began clarifying the case plan deadlines with Local Office staff, and anticipates that practice will improve in the following monitoring period.
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                                                                               Table 1B: To Be Maintained

                                                                                                                                                               Requirement
                          Quantitative or                Sustainability and Exit                                                      December 2017
      Reference                                                                               June 2017 Performance                                            Maintained
                        Qualitative Measure                  Plan Standard                                                             Performance
                                                                                                                                                                (Yes/No)38
                                                       95% of IAIU investigators will
                                                       have (a) no more than 12 open                                              100% of IAIU
                        IAIU Investigators                                                    100% of IAIU investigators
      III.B.3                                          cases, and (b) no more than eight                                          investigators met caseload       Yes
                        Caseload                                                              met caseload standards.
                                                       new case assignments per                                                   standards.
                                                       month.


                                                       95% of local offices will have
                                                       average caseloads for
                        Permanency Workers             permanency workers of (a) no           100% of Local Offices met           100% of Local Offices met
      III.B.4                                                                                                                                                      Yes
                        (Local Offices) Caseload       more than 15 families, and (b)         permanency standards.               permanency standards.
                                                       no more than 10 children in out-
                                                       of-home care.

                                                       95% of permanency workers
                                                                                                                                  100% of Permanency
                        Permanency Workers             will have (a) no more than 15          100% of Permanency workers
      III.B.5                                                                                                                     workers met caseload             Yes
                        Caseload                       families, and (b) no more than         met caseload standards.
                                                                                                                                  standards.48
                                                       10 children in out of home care.

                                                       95% of local offices will have
                                                       average caseloads for Intake
                        Intake workers (Local          workers of no more than 12             97% of Local Offices met            97% of Local Offices met
      IV.E.24                                                                                                                                                      Yes
                        Offices) Caseload              families and no more than eight        intake caseload standards.          intake caseload standards.
                                                       new case assignments per
                                                       month.




48   Reported performance is the average of DCF’s performance in meeting individual caseload standards during this six-month monitoring period.
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                                                                           Table 1B: To Be Maintained

                                                                                                                                                          Requirement
                       Quantitative or                Sustainability and Exit                                                    December 2017
     Reference                                                                            June 2017 Performance                                           Maintained
                     Qualitative Measure                  Plan Standard                                                           Performance
                                                                                                                                                           (Yes/No)38
                                                   90% of individual intake works
                                                   shall have no more than 12 open
                                                   cases and no more than eight
                                                   new case assignments per               93% of Intake workers met          96% of Intake workers met
     IV.E.25         Intake workers Caseload                                                                                                                  Yes
                                                   month. No intake worker with           caseload standards.                caseload standards.49
                                                   12 or more open cases can be
                                                   given more than two secondary
                                                   assignments per month.

                                                   95% of Local Offices will have
                     Adoption Workers (Local       average caseloads for adoption         99% of Local Offices met           97% of Local Offices met
     IV.E.26                                                                                                                                                  Yes
                     Offices) Caseload             workers of no more than 15             adoption standards.                adoption standards.
                                                   children per worker.

                                                   95% of individual adoption
                     Adoption Workers              worker caseloads shall be no           99% of Adoption workers met        98% of Adoption workers
     IV.E.27                                                                                                                                                  Yes
                     Caseload                      more than 15 children per              caseload standards.                met caseload standards.50
                                                   worker.

                                                                                       Case Plans

                                                                                                                             In December 2017, 97% of
                                                                                          In June 2017, 96% of case
                                                                                                                             case plans were reviewed
                                                                                          plans were reviewed and
                                                   95% of case plans for children                                            and modified as necessary
                                                                                          modified as necessary at least
                     Timeliness of Current         and families will be reviewed                                             at least every six months.
     III.C.6                                                                              every six months. Monthly                                           Yes
                     Plans                         and modified no less frequently                                           Monthly range during July
                                                                                          range during January – June
                                                   than every six months.                                                    – December 2017
                                                                                          2017 monitoring period: 96 to
                                                                                                                             monitoring period: 92 to
                                                                                          97%.
                                                                                                                             97%.51



49 Reported performance is the average of DCF’s performance in meeting individual caseload standards during this six month monitoring period.
50 Ibid.
51 Monthly performance on this measure is as follows: July, 92%; August, 97%; September, 94%; October, 96%; November, 97%; December, 97%.


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                                                                               Table 1B: To Be Maintained

                                                                                                                                                                           Requirement
                        Quantitative or                 Sustainability and Exit                                                         December 2017
     Reference                                                                                June 2017 Performance                                                        Maintained
                      Qualitative Measure                   Plan Standard                                                                Performance
                                                                                                                                                                            (Yes/No)38
                                                                                 Deputy Attorneys General
                                                                                              129 (100%) of 129 staff              134 (100%) of 134 staff
                                                      The state will maintain adequate
                      Adequacy of DAsG                                                        positions filled with five staff     positions filled with four
     III.D.7                                          DAsG staff positions and keep                                                                                               Yes
                      Staffing                                                                on leave; 124 (96%) available        staff on leave; 130 (97%)
                                                      positions filled.
                                                                                              DAsG.                                available DAsG.52

                                                                                      Child Health Units

                                                      The state will continue to                                                   As of December 31, 2017,
                                                                                              As of June 2017, DCF had 173
                                                      maintain its network of child                                                DCF had 170 health care
     III.E.8          Child Health Units                                                      health care case managers and                                                       Yes
                                                      health units, adequately staffed                                             case managers and 82 staff
                                                                                              82 staff assistants.
                                                      by nurses in each local office.                                              assistants.

                                                                                               Visits
                                                      60% of children in custody with
                                                      a return home goal will have an
                                                      in-person visit with their
                                                                                                                                   In December 2017, 80% of
                                                      parent(s) at least weekly,              In June 2017, 80% of
                                                                                                                                   applicable children had
                                                      excluding those situations where        applicable children had
     IV.F.29                                                                                                                       weekly visits with their
                      Parent-Child Visits –           a court order prohibits or              weekly visits with their
                                                                                                                                   parents. Monthly range                         Yes
                      Weekly                          regulates visits or there is a          parents. Monthly range during
                                                                                                                                   during July – December
                                                      supervisory approval of a               January – June 2017
                                                                                                                                   2017 monitoring period: 78
                                                      decision to cancel a visit because      monitoring period: 80 to 85%.
                                                                                                                                   to 82%.53,54
                                                      it is physically or
                                                      psychologically harmful to a
                                                      child.




52 DCF reported that during this monitoring period select DAsG outside of the DCF Practice Group have dedicated some of their time to DCF matters.
53 Monthly performance is as follows: July, 78%; August, 79%; September, 80%; October, 82%; November, 79%; December, 80%.
54 Based on the Monitor’s review of a statistically significant sample of cases in a prior monitoring period, the Monitor determined NJ SPIRIT documentation of exceptions with respect to this

measure to be reliable. As a result, these data exclude all instances in which documentation indicated that a visit was not required.
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                                                                             Table 1B: To Be Maintained

                                                                                                                                                                      Requirement
                       Quantitative or                Sustainability and Exit                                                       December 2017
     Reference                                                                             June 2017 Performance                                                      Maintained
                     Qualitative Measure                  Plan Standard                                                              Performance
                                                                                                                                                                       (Yes/No)38
                                                    85% of children in custody will
                                                    have an in-person visit with their
                                                    parent(s) or legally responsible
                                                                                                                               In December 2017, 93% of
                                                    family member at least every           In June 2017, 93% of
                                                                                                                               applicable children had bi-
                                                    other week, excluding those            applicable children had bi-
                                                                                                                               weekly visits with their
     IV.F.30         Parent-Child Visits – Bi-      situations where a court order         weekly visits with their
                                                                                                                               parents. Monthly range                        Yes
                     Weekly                         prohibits or regulates visits or       parents. Monthly range during
                                                                                                                               during July – December
                                                    there is supervisory approval of       January – June 2017
                                                                                                                               2017 monitoring period: 90
                                                    a decision to cancel a visit           monitoring period: 93 to 97%.
                                                                                                                               to 93%.55,56
                                                    because it is physically or
                                                    psychologically harmful to a
                                                    child.

                                                                                                                               In December 2017, 94% of
                                                                                           In June 2017, 94% of children
                                                                                                                               children had two visits per
                                                    93% of children shall have at          had two visits per month, one
                                                                                                                               month, one of which was
                                                    least twice-per-month face-to-         of which was in the
                                                                                                                               in the placement, during
                     Caseworker Contacts with       face contact with their                placement, during the first two
                                                                                                                               the first two months of an
     III.F.9         Children – New                 caseworker within the first two        months of an initial or                                                           Yes
                                                                                                                               initial or subsequent
                     Placement/Placement            months of placement, with at           subsequent placement.
                                                                                                                               placement. Monthly range
                     Change                         least one contact in the               Monthly range during January
                                                                                                                               during July – December
                                                    placement.                             – June 2017 monitoring
                                                                                                                               2017 monitoring period: 93
                                                                                           period: 91 to 95%.
                                                                                                                               to 97%.57




55 Monthly performance is as follows: July, 91%; August, 90%; September, 92%; October, 93%; November, 92%; December, 93%. Reported performance accounts for valid exceptions to this visits
requirement.
56 Based on the Monitor’s review of a statistically significant sample of cases in a prior monitoring period, the Monitor determined NJ SPIRIT documentation of exceptions with respect to this

measure to be reliable. As a result, these data exclude all instances in which documentation indicated that a visit was not required.
57 Monthly performance is as follows: July, 97%; August, 95%; September, 96%; October, 96%; November, 93%; December, 94%.


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                                                                           Table 1B: To Be Maintained

                                                                                                                                                           Requirement
                         Quantitative or              Sustainability and Exit                                                     December 2017
      Reference                                                                          June 2017 Performance                                             Maintained
                       Qualitative Measure                Plan Standard                                                            Performance
                                                                                                                                                            (Yes/No)38
                                                                                                                              In December 2017, 96% of
                                                                                                                              children had at least one
                                                    During the remainder of the          In June 2017, 96% of children
                                                                                                                              caseworker visit per month
      III.F.10                                      placement, 93% of children shall     visit per month in his/her
                       Caseworker Contact with                                                                                in his/her placement.
                                                    have at least one caseworker         placement. Monthly range                                              Yes
                       Children in Placement                                                                                  Monthly range during July
                                                    visit per month, in the              during January – June 2017
                                                                                                                              – December 2017
                                                    placement.                           monitoring period: 96 to 97%.
                                                                                                                              monitoring period: 95 to
                                                                                                                              96%.58

                                                                                        Placement
                                                                                                                              For CY 2017, 76% of
                                                    At least 80% of siblings groups                                           sibling groups of two or
                                                                                              CY 2017 data not yet
      IV.G.32          Placing Siblings Together    of two or three children entering                                         three children entering          No
                                                                                                  available.
                                                    custody will be placed together.                                          custody were placed
                                                                                                                              together.

                                                                                                                              For CY 2017, children
                                                    All children will be placed with
                       Placing Siblings Together                                              CY 2017 data not yet            were placed with at least
      IV.G.33                                       at least one other sibling 80% of                                                                          Yes
                       for Four or More Children                                                  available.                  one other sibling 83% of
                                                    the time.
                                                                                                                              the time.




58   Monthly performance is as follows: July, 96%; August, 96%; September, 96%; October, 96%; November, 95%; December, 96%.
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                                                                         Table 1B: To Be Maintained

                                                                                                                                                       Requirement
                      Quantitative or               Sustainability and Exit                                                 December 2017
   Reference                                                                           June 2017 Performance                                           Maintained
                    Qualitative Measure                 Plan Standard                                                        Performance
                                                                                                                                                        (Yes/No)38

                                                                                                                        Between July and
                                                                                       Between January and June         December 2017, DCF
                                                                                       2017, DCF recruited a total of   recruited a total of 32 new
                                                                                       36 new SIBS homes. As of         SIBS homes. As of
                                                  DCF will continue to recruit for     June 2017, DCF had a total of    December 2017, DCF had
                    Recruitment of
                                                  resource homes capable of            98 large capacity SIBS homes;    a total of 92 large capacity
   IV.G.34          Placements for Sibling                                                                                                                 Yes
                                                  serving sibling groups of four or    22 homes that can                SIBS homes; 21 homes
                    Groups of Four or More
                                                  more.                                accommodate five or more         that can accommodate five
                                                                                       children, and 76 homes that      or more children, and 71
                                                                                       can accommodate four             homes that can
                                                                                       children.                        accommodate four
                                                                                                                        children.



                                                                                                                        For CY 2017, 85% of
                                                  At least 84% of children entering
                                                                                                                        children who entered out-
                                                  out-of-home placement for the
                                                                                                                        of-home placement for the
                                                  first time in a calendar year will
                    Placement Stability, First                                             CY 2016 data not yet         first time had no more than
   IV.G.35                                        have no more than one                                                                                    Yes
                    12 Months in Care                                                          available.               one placement change
                                                  placement change during the 12
                                                                                                                        during the 12 months
                                                  months following their date of
                                                                                                                        following their date of
                                                  entry.
                                                                                                                        entry.




                                                                                                                        For CY 2015, 94% of
                                                  At least 88% of these children
                                                                                                                        applicable children had no
                                                  will have no more than one
                    Placement Stability, 13 –                                              CY 2015 data not yet         more than one placement
   IV.G.36                                        placement change during the 13-                                                                          Yes
                    24 Months in Care                                                          available.               change during the 13-24
                                                  24 months following their date
                                                                                                                        months following their
                                                  of entry.
                                                                                                                        date of entry.




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                                                                               Table 1B: To Be Maintained

                                                                                                                                                                           Requirement
                        Quantitative or                 Sustainability and Exit                                                         December 2017
     Reference                                                                                June 2017 Performance                                                        Maintained
                      Qualitative Measure                   Plan Standard                                                                Performance
                                                                                                                                                                            (Yes/No)38
                                                                                            Education
                                                      80% of cases will be rated
                                                      acceptable as measured by the
                                                      QR in stability (school) and                                                 86% of cases rated
                                                      learning and development. The                                                acceptable for both QR
                                                                                                   CY 2017 data not yet
     III.G.11         Educational Needs               Monitor, in consultation with the                                            indicators stability in                        Yes
                                                                                                       available.
                                                      parties, shall determine the                                                 school and learning and
                                                      standards for school stability and                                           development.59
                                                      quality learning and
                                                      development.

                                                                                          Maltreatment
                                                                                                                                   For CY 2017, 0.24% of
                                                      No more than 0.49% of children                                               children were victims of
                      Abuse and Neglect of            will be victims of substantiated             CY 2017 data not yet            substantiated abuse or
     III.H.12                                                                                                                                                                     Yes
                      Children in Foster Care         abuse or neglect by a resource                   available.                  neglect by a resource
                                                      parent or facility staff member.                                             parent or facility staff
                                                                                                                                   member.

                                                      No more than 7.2% of children                                                For CY 2016, 6.5% of
                                                      who remain at home after a                                                   children who remained at
                      Repeat Maltreatment (In-        substantiation of abuse or                   CY 2016 data not yet            home after a substantiation
     IV.H.37                                                                                                                                                                      Yes
                      home)                           neglect will have another                        available.                  of abuse or neglect had
                                                      substantiation within the next 12                                            another substantiation
                                                      months.                                                                      within the next 12 months.




59Seventy-six of the 88 applicable cases reviewed rated acceptable on both the stability in school and learning and development indicators; 93% (95 of 102) were rated acceptable for school stability
and 92% (83 of 90) were rated acceptable for learning and development. All in-home cases are excluded from this measure.
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                                                                           Table 1B: To Be Maintained

                                                                                                                                                             Requirement
                         Quantitative or              Sustainability and Exit                                                     December 2017
      Reference                                                                          June 2017 Performance                                               Maintained
                       Qualitative Measure                Plan Standard                                                            Performance
                                                                                                                                                              (Yes/No)38
                                                    Of all children who enter foster                                          For CY 2014, 6.4% of
                                                    care in a 12-month period for the                                         children who entered foster
                                                    first time who are discharged                                             care for the first time who
                                                    within 24 months to                                                       were discharged within 24
                       Maltreatment Post-                                                     CY 2014 data not yet
      IV.H.38                                       reunification or living with a                                            months to reunification or         Yes
                       Reunification                                                              available.
                                                    relative(s), no more than 6.9%                                            living with relative(s) were
                                                    will be the victims of abuse or                                           the victims of abuse or
                                                    neglect within 12 months of their                                         neglect within 12 months
                                                    discharge.                                                                of their discharge.

                                                                                       Permanency
                                                    Of all children who enter foster                                          For CY 2016, 42% of
                                                    care in a 12-month period, at                                             applicable children were
                                                    least 42% will be discharged to                                           discharged to permanency
                       Permanency within 12         permanency (reunification,                CY 2016 data not yet            (reunification, living with
      IV.I.40                                                                                                                                                    Yes
                       Months                       living with relatives,                        available.                  relatives, guardianship or
                                                    guardianship or adoption) within                                          adoption) within 12
                                                    12 months of entering foster                                              months of entering foster
                                                    care.                                                                     care.

                                                                                       Older Youth
                                                                                                                              In December 2017, 93% of
                                                                                         In June 2017, 95% of
                                                                                                                              applicable children had
                                                                                         applicable children had
                                                                                                                              completed an Independent
                                                    90% of youth age 14 to18 have        completed an Independent
                       Independent Living                                                                                     Living Assessment.
      IV.K.45                                       an Independent Living                Living Assessment. Monthly                                              Yes
                       Assessments                                                                                            Monthly range during July
                                                    Assessment.                          range during January – June
                                                                                                                              – December 2017
                                                                                         2017 monitoring period: 87 to
                                                                                                                              monitoring period: 92 –
                                                                                         95%.
                                                                                                                              94%.60




60   Monthly performance is as follows: July, 94%; August, 94%; September, 93%; October, 93%; November, 92%; December, 93%.
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                                                                               Table 1B: To Be Maintained

                                                                                                                                                                           Requirement
                        Quantitative or                 Sustainability and Exit                                                         December 2017
     Reference                                                                                June 2017 Performance                                                        Maintained
                      Qualitative Measure                   Plan Standard                                                                Performance
                                                                                                                                                                            (Yes/No)38

                                                      75% of youth age 18 to 21 who
                                                      have not achieved legal
                                                                                                                                   74% of youth cases
                      Quality of Case Planning        permanency shall receive                     CY 2017 data not yet
     IV.K.46                                                                                                                       reviewed rated                                 Yes
                      and Services                    acceptable quality case                          available.
                                                                                                                                   acceptable.61 (CY 2017)
                                                      management and service
                                                      planning.


                                                                                                                                   92% of youth exiting care
                                                                                              100% of youth exiting care
                                                                                                                                   between July and
                                                                                              between January and June
                                                      95% of youth exiting care                                                    December 2017 without
                                                                                              2017 without achieving
     IV.K.47          Housing                         without achieving permanency                                                 achieving permanency had                      Yes62
                                                                                              permanency had
                                                      shall have housing.                                                          documentation of a
                                                                                              documentation of a housing
                                                                                                                                   housing plan upon exiting
                                                                                              plan upon exiting care.
                                                                                                                                   care.

                                                                                                                                   95% of youth exiting care
                                                                                              94% of youth exiting care
                                                                                                                                   between July and
                                                      90% of youth exiting care               between January and June
                                                                                                                                   December 2017 without
                                                      without achieving permanency            2017 without achieving
                                                                                                                                   achieving permanency
                                                      shall be employed, enrolled in or       permanency were either
                                                                                                                                   were either employed or
                                                      have recently completed a               employed or enrolled in
                                                                                                                                   enrolled in education or
     IV.K.48          Employment/Education            training or an educational              education or vocational                                                             Yes
                                                                                                                                   vocational training
                                                      program or there is documented          training programs or there was
                                                                                                                                   programs or there was
                                                      evidence of consistent efforts to       documented evidence of
                                                                                                                                   documented evidence of
                                                      help the youth secure                   consistent efforts to help the
                                                                                                                                   consistent efforts to help
                                                      employment or training.                 youth secure employment or
                                                                                                                                   the youth secure
                                                                                              training.
                                                                                                                                   employment or training.




61 Thirty-one of the 42 (74%) cases reviewed scored acceptable for both the child(youth)/family status and practice performance indicators; 88% (37 of 42) of cases rated acceptable on the
child(youth)/family status indicator and 74% (31 of 42) of cases rated acceptable on the practice performance indicator. The universe of cases to which this measure applies is small, making
fluctuations more likely.
62 The universe of cases to which this measures applies is small, making fluctuations more likely. The Monitor therefore considers this measure to be met.


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                                                                      Table 1C: Foundational Elements
                                                        Additional SEP Requirements                                                                   December 2017 Fulfilled
                    Reference                                                                                          Data Source
                                                          that DCF Must Sustain:                                                                            (Yes/No)




                                                                                                        Data are currently provided directly to the
                                                                                                        Monitor and published by DCF in reports
                                                      DCF will continue to maintain a case              and on its website.63
                                                      management information and data
                                                      collections system that allows for the            NJ SPIRIT functionality is routinely
 A. Data Transparency                                 assessment, tracking, posting or web-             assessed by the Monitor’s use of NJ
                                                                                                                                                                Yes
                                                      based publishing and utilization of key           SPIRIT data for validation and through
                                                      data indicators.                                  use of SafeMeasures, as well as in
                                                                                                        conducting case inquiries and case record
                                                                                                        reviews.




63   Please see list of reports in Section I (Introduction: Monitoring Methodology) to review data sources for this Foundational Element.
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                                                               Table 1C: Foundational Elements
                                                 Additional SEP Requirements                                                           December 2017 Fulfilled
                Reference                                                                              Data Source
                                                   that DCF Must Sustain:                                                                    (Yes/No)
                                                                                          QR Data
                                                                                          Data provided directly to the Monitor
                                               Implement and sustain a Case Practice      Our Work with Children, Youth and
                                               Model                                      Families Report
                                                                                          Monitor site visits and attendance at QRs,
                                                                                          ChildStat and other meetings
                                               Quality investigation and assessment       Investigation case record review
                                                                                          Data provided directly to the Monitor
                                               Safety and risk assessment and risk
                                                                                          Our Work with Children, Youth and
                                               reassessment
                                                                                          Families Report
                                                                                          QR Data
                                                                                          Data provided directly to the Monitor
                                               Engagement with youth and families
                                                                                          Our Work with Children, Youth and
                                                                                          Families Report
 B. Case Practice Model                                                                   QR Data                                                Yes
                                                                                          Data provided directly to the Monitor
                                               Working with family teams
                                                                                          Our Work with Children, Youth and
                                                                                          Families Report
                                                                                          QR Data
                                               Individualized planning and relevant       Data provided directly to the Monitor
                                               services                                   Our Work with Children, Youth and
                                                                                          Families Report
                                                                                          QR Data
                                                                                          Data provided directly to the Monito
                                               Safe and sustained transition from DCF
                                                                                          Our Work with Children, Youth and
                                                                                          Families Report
                                                                                          Data provided directly to the Monitor
                                               Continuous review and adaptations          Our Work with Children, Youth and
                                                                                          Families Report

                                                                                          Commissioner’s Monthly Report
                                               Received by the field in a timely manner
                                                                                          Monitor site visit
 C. State Central Registry                                                                                                                       Yes
                                               Investigation commenced within required    Commissioner’s Monthly Report
                                               response time                              Monitor site visit




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                                                               Table 1C: Foundational Elements
                                                 Additional SEP Requirements                                                             December 2017 Fulfilled
                Reference                                                                                Data Source
                                                   that DCF Must Sustain:                                                                      (Yes/No)
                                                                                            QR data
                                                                                            Data provided directly to the Monitor
                                                                                            Monitor site visits and attendance at QRs,
                                               Appropriate placements of children
                                                                                            ChildStat and other meetings
                                                                                            Our Work with Children, Youth and
                                                                                            Families Report

                                               Resource family homes licensed and
                                                                                            Commissioner’s Monthly Report
                                               closed (kinship/non-kinship)

                                               Number of children in home/out of home
                                                                                            Quarterly Demographic Report
                                               demographic data

                                               Placed in a family setting                   Commissioner’s Monthly Report
 D. Appropriate Placements                                                                  Data provided directly to the Monitor
                                                                                                                                                   Yes
                                               Placement proximity                          Our Work with Children, Youth and
                                                                                            Families Report

                                               No children under 13 years old in shelters   Commissioner’s Monthly Report

                                               Children over 13 in shelters no more than
                                                                                            Commissioner’s Monthly Report
                                               30 days
                                               No behavioral health placements out of
                                                                                            Commissioner’s Monthly Report
                                               state without approval

                                                                                            CP&P Needs Assessment
                                                                                            Data provided directly to the Monitor
                                               Adequate number of resource placements
                                                                                            Our Work with Children, Youth and
                                                                                            Families Report




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                                                                   Table 1C: Foundational Elements
                                                     Additional SEP Requirements                                                        December 2017 Fulfilled
                   Reference                                                                                 Data Source
                                                       that DCF Must Sustain:                                                                 (Yes/No)



                                                                                                New Jersey Youth Resource Spot64
                                                    Services for youth age 18-21, LGBTQI,
                                                                                                New Jersey DCF Adolescent Services
                                                    mental health and domestic violence for
                                                                                                Website65
                                                    birth parents with families involved with
                                                    the child welfare system
                                                                                                Data provided directly to the Monitor




 E. Service Array                                                                                                                                 Yes

                                                    Preventive home visit programs              Commissioner’s Monthly Report




                                                                                                Commissioner’s Monthly Report

                                                    Family Success Centers                      Monitor Site Visits

                                                                                                Data provided directly to the Monitor




64   New Jersey’s Youth Resource Spot can be found at www.NJYRS.org.
65   DCF’s Adolescent Services Website can be found at http://www.nj.gov/dcf/adolescent/.
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                                                               Table 1C: Foundational Elements
                                                 Additional SEP Requirements                                                    December 2017 Fulfilled
                Reference                                                                            Data Source
                                                   that DCF Must Sustain:                                                             (Yes/No)
                                                                                        Healthcare of Children in Out-of-Home
                                               Appropriate medical assessment and
                                                                                        Placement
                                               treatment
                                                                                        Data provided directly to the Monitor

                                                                                        Healthcare of Children in Out-of-Home
                                               Pre-placement and entry medical
                                                                                        Placement
                                               assessments
                                                                                        Commissioner’s Monthly Report

                                                                                        Healthcare of Children in Out-of-Home
                                               Dental examinations                      Placement
                                                                                        Commissioner’s Monthly Report
 F. Medical and Behavioral
                                                                                        Healthcare of Children in Out-of-Home             Yes
 Health Services                               Immunizations                            Placement
                                                                                        Commissioner’s Monthly Report

                                                                                        Healthcare of Children in Out-of-Home
                                               Follow-up care and treatment
                                                                                        Placement

                                                                                        Healthcare of Children in Out-of-Home
                                               Mental health assessment and treatment
                                                                                        Placement


                                               Behavioral health                        CIACC Monthly Report

                                               Pre-service training

                                               Case practice model

                                               Permanency planning                      Data provided directly to the Monitor
 G. Training                                                                                                                              Yes
                                               Concurrent planning                      Workforce Report

                                               Adoption
                                               Demonstration of competency




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                                                                  Table 1C: Foundational Elements
                                                    Additional SEP Requirements                                                                           December 2017 Fulfilled
                 Reference                                                                                       Data Source
                                                      that DCF Must Sustain:                                                                                    (Yes/No)

                                                  DCF will continue to make flexible funds
                                                  available for use by workers in crafting
                                                  individualized service plans for children,
                                                  youth and families to meet the needs of          Data provided directly to the Monitor
                                                  children and families, to facilitate family
 H. Flexible Funding                              preservation and reunification where             DCF Online Policy Manual                                             Yes
                                                  appropriate and to ensure that families are
                                                  able to provide appropriate care for             Budget Report
                                                  children and to avoid the disruption of
                                                  otherwise stable and appropriate
                                                  placements.


                                                                                                   DCF Online Policy Manual
                                                  Family care support rates
                                                                                                   DCF Website66
 I. Resource Family Care                                                                                                                                                Yes
 Support Rates                                                                                     DCF Online Policy Manual
                                                  Independent Living Stipend
                                                                                                   Youth Website

                                                                                                   Data provided directly to the Monitor
                                                  Permanency practices                             Our Work with Children, Youth and
 J. Permanency                                                                                     Families Report                                                      Yes
                                                  Adoption practices                               Monitor site visits and attendance at QRs,
                                                                                                   ChildStat and other meetings

                                                  5- and 10-month placement reviews                Adoption Report
 K. Adoption Practice                                                                              Monitor site visits and attendance at QRs,                           Yes
                                                  Child specific recruitment                       ChildStat and other meetings




66USDA has altered its schedule for producing its Annual Report on costs of raising a child. By agreement, DCF now updates the rates within 30 days of the USDA annual report’s release to meet the
SEP standards and provides written confirmation to the Monitor.
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  IV.       FOUNDATIONAL ELEMENTS

  The Sustainability and Exit Plan (SEP) identifies a series of core organizational and practice
  improvements known as the “Foundational Elements” that have provided the base upon which
  New Jersey’s reform has been built. They include a range of requirements from the 2006
  Modified Settlement Agreement (MSA) that were previously met and were codified in the SEP
  as foundational for improved child welfare outcomes and future system improvements. These
  Foundational Elements remain enforceable in the SEP if performance is not sustained. The
  Department of Children and Families (DCF) collects and publishes data to support its continued
  maintenance of Foundational Elements. DCF has published several reports in this monitoring
  period to provide information about the Foundational Elements, primarily the Healthcare of
  Children in Out-of-Home Placement report, released on December 11, 2017. The Healthcare
  report demonstrates how children in out-of-home placement access healthcare services and the
  quality of those services. The report evaluates the medical and behavioral health assessments and
  services coordinated by the Child Health Units (CHUs) and identifies trends, strengths and areas
  needing improvement for each measure.

  In January 2018, just outside of this monitoring period, DCF published the Our Work with
  Children, Youth and Families report covering calendar year (CY) 2016 and the Workforce report
  covering the state fiscal year (FY) 2017. In addition to producing these reports, DCF continued
  to provide data directly to the Monitor wherever necessary for the period July 1 to December 31,
  2017 to assess the Foundational Elements. The Monitor also assesses maintenance of
  Foundational Elements through its participation in statewide Qualitative Reviews (QRs), site
  visits to Local Offices and attendance at monthly ChildStat presentations and meetings with
  stakeholders throughout the state.

  As mentioned in the Summary of Performance (Section II of this monitoring report), in the
  Monitor’s judgment, each of the SEP’s Foundational Elements has been maintained during this
  period. The sections below provide information on new developments, significant new
  accomplishments or other information judged by the Monitor to be relevant for its assessment
  and understanding of the Foundational Elements.

        A. CASE PRACTICE MODEL – SEP Section II.B

  DCF has made significant efforts to embed its Case Practice Model in its work with children,
  youth and families in each of the 46 Local Offices throughout the state by providing training,
  coaching and mentoring to workers and supervisors and through a range of Continuous Quality
  Improvement (CQI) activities that focus on direct practice. A workgroup was developed in this
  monitoring period to finalize an updated case practice guide, and Case Practice Liaisons (CPLs)
  held workshops on strengthening relationships with families. Furthermore, Local Office leaders
  continued to be encouraged to become coaches and master coaches in DCF’s teaming model.
  Examples of some of the efforts to bolster quality case practice included:

           Father Engagement: Essex and Gloucester counties began implementation of a father
            involvement and engagement improvement plan.



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           Casework Supervisor Leadership Series: Casework Supervisors focused on lifting
            morale in Local Offices and creating more positive agency culture.
           Local Office Manager (LOM) leadership series: LOMs participated in workshops about
            behavior modification, coaching and application of coaching into practice.
           Field Training Unit Supervisors: Training Supervisors have been updating the Field
            Training Guide to continue to emphasize Transfer of Learning with more experimental
            learning opportunities in addition to classroom-based learning.
           Batterer’s Intervention Program: Stakeholders in Burlington and Monmouth counties
            learned about the developmental behaviors of the offending and surviving parent and
            their effects on parenting.

      B. APPROPRIATE PLACEMENTS – SEP Section II.D

  Section II.D of the SEP provides that “when out-of-home placement is necessary, DCF will
  provide the most appropriate and least restrictive placements, allowing children to remain in their
  own communities, be placed with or maintain contact with siblings and relatives and have their
  educational needs met. The State shall maintain an adequate number and array of family-based
  placements to appropriately place children in family settings.”

  Appropriate Placements and Services

  During this monitoring period, DCF’s pool of placement resource homes and group settings
  continued to meet the needs of children in out-of-home care, as described in more detail in Section
  V.F of this report.

  As of December 31, 2017, 6,191 children were in out-of-home placement: 5,608 (91%) of whom
  were in family-like settings (53% were placed in non-kinship resource family homes and 38% in
  kinship homes). Eight percent of children were placed in group and residential settings and two
  percent were in independent living programs. Between July and December 2017, DCF recruited
  and licensed 583 new kinship and non-kinship resource family homes; 329 (56%) were kinship
  homes and 254 (44%) were non-kinship homes. As of December 31, 2017, there were a total of
  4,484 licensed resource family homes in the state, 1,552 (35%) of which were kinship homes.

  Between July 1 and December 31, 2017 a total of 764 resource family homes closed, resulting in
  a net loss of 181 homes. Though this is a greater net loss than in the previous monitoring period,
  the number of newly licensed homes in CY 2017 (1,221) exceeded the number of newly licensed
  homes in CY 2016 (1,059). In addition, there has been a decline in the total number of children
  placed in out-of-home settings between 2016 and 2017 (6,663 in CY 2016; 6,191 in CY 2017).
  The majority of homes closed (464 homes, or 61%) were kinship homes, and the majority of
  those homes were closed because children were adopted. The following are some of DCF’s
  newer recruitment and retention efforts:

          Mobile Response and Stabilization Services (MRSS): MRSS is intended to provide
           increased support to children and youth in placement and resource families in an attempt
           to avoid the trauma that results from multiple placements. Within approximately one hour
           of a resource or kinship home being identified – unless arrangements are made for a visit

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           within 24 hours – MRSS dispatches a worker to the placement for an assessment and
           short term stabilization services if needed. MRSS is now available in every county.
           DCF reports that this initiative has been largely successful in stabilizing initial youth
           placements and reducing the number of placement episodes youth experience.
          Respite Services: Between July and December 2017, DCF began making Children’s
           Systems of Care (CSOC) respite services available to resource parents of youth with
           intellectual/developmental disabilities.
          Pre-licensure and Ongoing Training for Resource Parents: DCF continues to train
           resource parents on the Parent Resources for Information, Development and Education
           (PRIDE) and Traditions of Caring (TOC) curriculum. Between July and December 2017,
           PRIDE trainers learned about connecting resource families to DCF’s Family Success
           Centers (FSCs) in their areas, in addition to strategies for supporting and working with
           families with transgender youth. During the monitoring period, 1,054 resource parents
           completed a total of 3,466 in-service training courses offered by Foster and Adoptive
           Family Services (FAFS).

  As described in more detail in Section V.F of this report, DCF continues to focus on recruiting
  and retaining homes willing to accommodate large sibling groups. As of December 31, 2017,
  there were a total of 92 large capacity Siblings in Best Placement Settings (SIBS) homes; 21
  homes with a capacity to accommodate five or more children, and 71 homes that could
  accommodate four children.

      C. SERVICE ARRAY – SEP Section II.E

  Section II.E of the SEP requires the state to provide comprehensive, culturally responsive
  services to address the identified needs of the children, youth and families it serves, and maintain
  an adequate statewide network of FSCs. These services are to include, but not be limited to,
  services for youth age 18 to 21, LGBTQI youth, birth parents who may need mental health or
  domestic violence supports and preventive home visit programs.

  Family Success Centers: During this monitoring period, 56 FSCs provided services to families in
  all 21 counties. FSCs are neighborhood-based places where any community resident can access
  family support, information and specialized supports that vary depending on the needs and
  desires of the community in which they are located.

  Domestic Violence Liaison Program: Between July and December 2017, Domestic Violence
  Liaisons (DVLs) reported working with 3,446 non-offending parents, 1,122 offending parents
  and 6,257 children. The goal of the program is to strengthen service coordination between New
  Jersey’s child protection and domestic violence systems to bring about better safety and well-
  being outcomes for survivors and children. The DVLs offered several trainings in this content
  area and trained 1,036 DCF Local Office staff during this monitoring period. Additionally, 264
  newly hired DCF staff completed the two-day Domestic Violence Foundational training between
  July and December 2017. In November 2017, DCF held a three-day “Intervening with Batterers”
  program for the DVLs, CPLs and DCF Professional Center staff. New Jersey’s lead domestic
  violence agencies provided services to 1,295 men, women and children entering shelters and
  5,774 men, women and children who received domestic violence services outside of shelters.


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  V. SUSTAINABILITY AND EXIT PLAN PERFORMANCE MEASURES TO BE
     ACHIEVED AND TO BE MAINTAINED

  This section of the report provides information on the Sustainability and Exit Plan (SEP)
  requirements that the state is focusing on achieving – designated as Outcomes To Be Achieved –
  and those requirements for which the state has satisfied the specified performance targets for at
  least six months and must sustain – designated as Outcomes To Be Maintained.

       A. INVESTIGATIONS

  The SEP includes four performance measures related to investigative practice. As of July 2017,
  quality of investigations (SEP IV.A.15) was designated as an Outcome To Be Achieved, and the
  other three measures were designated as Outcomes To Be Maintained: timeliness of Institutional
  Abuse Investigations Unit (IAIU) investigation completion (SEP III.A.1); timeliness of alleged
  child abuse and neglect investigation completion within 60 days (SEP IV.A.13); and
  investigation completion within 90 days (SEP IV.A.14).

  For the first time this monitoring period, the Department of Children and Families (DCF) has
  met the standard for quality of abuse and neglect investigations, a major accomplishment.
  Performance for all four measures during the current monitoring period are discussed below.

                                       Timeliness of Investigation Completion

   Quantitative or                    13. Timeliness of Investigation Completion: Investigations of alleged child abuse
   Qualitative Measure                    and neglect shall be completed within 60 days.

                                     85% of all abuse/neglect investigations shall be completed within 60 days. Cases
   Performance Target                with documented acceptable extensions in accordance with policy are considered
                                     compliant.



  Performance as of November 30, 2017:67

  In November 2017, there were 4,869 investigations of alleged child abuse and neglect, 4,018
  (83%) of which were completed within 60 days. Performance from June 1 to November 31, 2017
  ranged from a low of 83 percent to a high of 87 percent.68 DCF continued to meet the SEP
  performance standard for timeliness of investigation completion within 60 days for the period of
  June through November 2017.




  67 December 2017 data will be included in the next monitoring report. For certain data elements that have an extended time frame
  built into the measurement, the Monitor and DCF decided to alter the period for data review so that six month monitoring reports
  can be produced more closely to the end of the monitoring period.
  68 Monthly performance for this measure is as follows: June, 86%; July, 85%; August, 85%; September, 86%; October, 87%;

  November, 83%. The Monitor considers this to be an insubstantial fluctuation in performance that is still within acceptable range.

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   Quantitative or                  14. Timeliness of Investigation Completion: Investigations of alleged child abuse
   Qualitative Measure                  and neglect shall be completed within 90 days.

                                    95% of all abuse/neglect investigations shall be completed within 90 days. Cases
   Performance Target               with documented acceptable extensions in accordance with policy are considered
                                    compliant.

  Performance as of November 30, 2017:69

  In November 2017, there were 4,869 investigations of child abuse and neglect and 4,601 (95%)
  were completed within 90 days. Performance from June to November 2017 ranged from a low of
  94 percent to a high of 96 percent.70 DCF met the SEP performance standard for the timeliness of
  investigation completion within 90 days for the period of June through November 2017.

                                                Quality of Investigations

   Quantitative or                  15. Quality of Investigations: Investigations of alleged child abuse and neglect
   Qualitative Measure                  shall meet standards of quality.

   Performance Target                85% of all abuse/neglect investigations shall meet standards of quality.



  In March 2018, the Monitor and DCF together conducted a case record review of the quality of
  investigative practice of the Department of Child Protection and Permanency (CP&P).
  Reviewers examined the quality of practice of a statistically valid random sample of selected
  Child Protective Services (CPS) investigations assigned to DCF Local Offices between October
  1 and October 14, 2017, involving 331 investigations and 518 alleged child victims.71 Overall,
  reviewers found that 301 (91%) of the investigations were of acceptable quality,72 meeting the
  SEP standard for the first time. This is a significant accomplishment and one that demonstrates
  the success of DCF’s efforts and initiatives over the past years to improve the quality of
  investigative practice.

  The findings from the March 2018 review reflect some clear strengths in CP&P investigative
  case practice, as well as areas in need of further development. Key strengths include:

          Caseworkers interviewed the mother of the alleged child victim in 98 percent of the
           investigations;



  69 December 2017 data will be included in the next monitoring report. For certain data elements that have an extended time
  frame built into the measurement, the Monitor and DCF decided to alter the period for data review so that six-month monitoring
  reports can be produced more closely to the end of the monitoring period.
  70 Monthly performance for this measure is as follows: June, 95%; July, 94%; August, 94%; September, 96%; October; 95%;

  November, 95%.
  71 These results have a ± 5% margin of error with 95% confidence.
  72 Reviewers could select four possible responses to the question regarding the quality of the investigation: “completely,”

  “substantially,” “marginally” or “not at all.” Investigations determined to be “completely” or “substantially” of quality were
  considered acceptable for the purpose of this measure.

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             Caseworkers interviewed the father of the alleged child victim in 87 percent of the
              investigations;
             Collateral information was integrated into investigative decision making in 84 percent of
              the investigations; and
             Pre- and post-investigation worker/supervisor conferences took place in 99 percent of the
              investigations.

  The March 2018 review also found that an area in need of improvement in CP&P’s investigative
  practice includes the quality of pre- and post-investigation conferences. Reviewers determined
  that 78 percent of pre-investigation conferences were of acceptable quality and 76 percent of
  post-investigation conferences were of acceptable quality.

  DCF will include the findings from this review in the next Our Work with Children, Youth and
  Families report to be released in December 2018.

                                        Institutional Abuse Investigations Unit

   Quantitative or                     1.   Timeliness of Completion: IAIU investigations of child maltreatment in
   Qualitative Measure                      placements shall be completed within 60 days.

   Performance Target                 80% of IAIU investigations shall be completed within 60 days.



  The IAIU is responsible for investigating allegations of child abuse and neglect in resource
  family homes and other out-of-home care settings, as well as in child care facilities, detention
  centers, schools and residential facilities.73

  Performance as of December 31, 2017:

  Performance data for July through December 2017 show that DCF continued to exceed the SEP
  performance standard for this measure. In December 2017, 82 percent of IAIU investigations
  were completed within 60 days.




  73   CP&P Policy Manual (4-1-2013). Introduction to IAIU, I, A, 100.

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       B. FAMILY TEAM MEETINGS

  Family Team Meetings (FTMs) bring families, providers, formal and informal supports together
  to exchange information, participate in case planning, coordinate and follow up on services and
  examine and solve problems. Meetings are scheduled according to the family’s availability in an
  effort to involve as many family members and supports as possible. Workers are trained and
  coached to hold FTMs at key decision and transition points in the life of a case, such as when a
  child enters placement, when a child has a change in placement and/or when there is a need to
  adjust a case plan to achieve permanency or meet a child’s needs.

  The SEP includes five performance measures pertaining to FTMs, three of which had been met
  and designated as Outcomes To Be Maintained as of July 2017: the requirements that FTMs be
  held within 45 days of a child’s removal (SEP IV.B.16); that for children in out-of-home
  placement, at least three additional FTMs after the initial FTM be held within the first 12 months
  of placement (SEP IV.B.17); and that children in care with the goal of reunification have at least
  three FTMs each year after the first 12 months of placement (SEP IV.B.18).

  For the first time this monitoring period, DCF met the FTM target that for children with a goal
  other than reunification, two FTMs be held each year after the first 12 months of placement (SEP
  IV.B.19). DCF has improved performance on all SEP measures related to holding FTMs. The
  process of holding FTMs, however, is a tool to create a team around the child and the family and
  to set the stage for purposeful, collective decision-making. DCF now must focus its work on the
  end goal of FTMs – the Quality of Teaming (SEP IV.B.20), where improvement is still needed.
  Performance for all five measures during the current monitoring period are discussed below.

                                   Initial FTMs Held within 45 Days of Entry

   Quantitative or                  16. Initial Family Team Meetings: For children newly entering placement, the
   Qualitative Measure                  number/percent who have a family team meeting within 45 days of entry.
                                    80% of children newly entering placement shall have a family team meeting before
   Performance Target               or within 45 days of placement.


  Performance as of December 31, 2017:
  In December 2017, 198 (91%) out of 218 possible FTMs occurred within 45 days of a child’s
  removal from his or her home. Performance from July 1 to December 31, 2017 ranged from a
  low of 86 percent to a high of 91 percent.74 For this measure, the Monitor verified monthly data
  from NJ SPIRIT for all 86 applicable cases to determine whether exceptions to FTM policy were
  appropriately applied and documented.75 DCF’s performance exceeded the SEP standard in each
  month of the monitoring period.

  74 Monthly performance for this measure is as follows: July, 89%; August, 88%; September, 89%; October, 87%; November,
  86%; December, 91%. Reported performance accounts for valid exceptions to the FTM requirement. Data for this period are not
  comparable to data reported in the previous monitoring period given that similar exclusions were not made.
  75 Based on a review of all 86 cases, the Monitor excluded valid exceptions to the FTM requirement from the universe of cases.

  For example, in December 2017, there were 223 children newly entering placement. The Monitor determined that in five of nine
  cases, the worker had appropriately determined that the parent declined the FTM or was otherwise unavailable. The Monitor
  excluded those cases, making the universe 218 children.

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                                      FTMs Held within the First 12 Months

                                    17. Subsequent Family Team Meetings within 12 Months: For all other children in
   Quantitative or                      placement, the number/percent who have three additional FTMs within the
   Qualitative Measure                  first 12 months of the child coming into placement.
                                    80% of children will have three additional FTMs within the first 12 months of the
   Performance Target               child coming to placement.


  Performance as of December 31, 2017:76

  In December 2017, 114 (83%) of 138 applicable children had an additional three or more FTMs
  within the first 12 months of entering placement. Performance from July 1 to December 31, 2017
  ranged from a low of 72 percent to a high of 84 percent.77 For this measure, the Monitor verified
  monthly data from NJ SPIRIT for all 82 applicable cases to determine whether exceptions to
  FTM policy were appropriately applied and documented.78 Based on the verified data, DCF met
  the performance standard in four of six months in the monitoring period, which is an
  improvement from the previous monitoring period.

  An analysis of the data for this measure by Local Office shows wide variation in performance,
  and while overall performance is trending upward, there are a number of counties in which
  performance has sharply declined or remains significantly below the SEP standard. DCF
  anticipates that the practice improvement strategies implemented as part of its corrective action
  plan for the requirement to hold subsequent FTMs after 12 months for families with a goal of
  reunification (SEP IV.B.18) will continue to improve performance in this area. The Monitor
  considers this measure to be met, and the fluctuation in performance this monitoring period to be
  insubstantial.

                FTMs Held After 12 Months in Placement with a Goal of Reunification

   Quantitative or                  18. Subsequent Family Team Meetings after 12 Months: For all children in
   Qualitative Measure                  placement with a goal of reunification, the number/percent who have at least
                                        three FTMs each year after the first 12 months of placement.
   Performance Target               After the first 12 months of a child being in care, 90% of those with a goal of
                                    reunification will have at least three FTMs each year.




  76 Measure 17 applies to all children who have been in out-of-home placement for 12 months who entered care in the specified
  month. For example, performance for December 2017 is based upon the 148 children who entered care in December 2016.
  Compliance is based on whether at least three FTMs were held for these children during the 12-month period they were in care.
  77 Monthly performance is as follows: July, 78%; August, 72%; September, 84%; October 82%; November, 83%; December,

  83%. Reported performance accounts for valid exceptions to the FTM requirement.
  78 Based on a review of all 82 cases, the Monitor excluded valid exceptions to the FTM requirement from the universe of cases.

  For example, in December 2017, there were 148 children who had been in out-of-home placement for 12 months. The Monitor
  determined that in 10 cases, the worker had appropriately determined that the parent declined the FTM or was otherwise
  unavailable. The Monitor excluded those cases, making the universe of applicable cases 138 children.

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  Performance as of December 31, 2017:79

  In December 2017, out of 20 applicable children with a permanency goal of reunification, 17
  (85%) children had three or more FTMs in the 12 months following their first year in out-of-
  home placement. Performance from July 1 to December 31, 2017 ranged from a low of 85
  percent to a high of 100 percent.80 For this measure, the Monitor verified monthly data from NJ
  SPIRIT for the 11 applicable cases to determine whether exceptions to FTM policy were
  appropriately applied and documented.81

  Between July and December 2017, in response to the Monitor’s request for a corrective action
  plan for this measure, DCF’s Case Practice Liaisons (CPLs) worked with Local Office staff to
  improve FTM case practice. CPLs also focused on documentation of FTMs that occurred, as well
  as instances in which they failed to occur due to the parent being unavailable or declining to
  attend. In addition, in October 2017, CP&P held a convening of FTM master coaches and FTM
  coordinators to share effective strategies to improve performance in this area.

  Based on the Monitor’s verified data and NJ SPIRIT, DCF exceeded the SEP performance
  measure in four of the six months of the monitoring period, a significant improvement from the
  previous two monitoring periods, and likely a reflection of the impact of the strategies DCF
  identified to diagnose and address barriers as part of its correction action plan. Given this
  improvement in performance, as well as the small universe that makes the measure more
  susceptible to fluctuations, the Monitor considers this standard to be met.

         FTMs Held After 12 Months in Placement with a Goal Other than Reunification

                                     19. Subsequent Family Team Meetings after 12 Months: For all children in
   Quantitative or                       placement with a goal other than reunification, the number/percent who have
   Qualitative Measure                   at least two FTMs each year.
                                     After the first 12 months of a child being in care, for those children with a goal
   Performance Target                other than reunification, 90% shall have at least two FTMs each year.




  79 Measure 18 applies to all children who have been in care for at least 24 months who entered care in the specified month each
  year and have a goal of reunification. For example, in December 2017, a combined total of 20 children who entered care in
  December 2015, December 2014, December 2013, etc. and were still in placement with a goal of reunification. Compliance is
  based on whether at least three FTMs were held for these children during their most recent 12 months in care.
  80 Monthly performance for this measure is as follows: July, 90%; August, 100%; September, 93%; October, 100%; November,

  88%; December 85%. Reported performance accounts for valid exceptions to the FTM requirement.
  81 Based on a review of all 11 cases, the Monitor excluded valid exceptions to the FTM requirement from the universe of cases.

  For example, in September 2017, there were 32 children who had been in care for at least 24 months who had a goal of
  reunification. The Monitor determined that in five of seven cases, the worker had appropriately determined that the parent
  declined the FTM or was otherwise unavailable. The Monitor excluded those cases, making the universe of applicable cases 27
  children.

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  Performance as of December 31, 2017:82

  In December 2017, all 141 applicable children in out-of-home placement with a permanency
  goal other than reunification (100%) had two or more FTMs after 12 months. Performance from
  July 1 to December 31, 2017 ranged from a low of 88 percent to a high of 100 percent (see
  Figure 1).83 For this measure, the Monitor verified monthly data from NJ SPIRIT for the 20
  applicable cases to determine whether exceptions to FTM policy were appropriately applied and
  documented.84

  DCF exceeded the standard on this measure in four of the six months – performance is trending
  upward – and was only two percentage points from the standard in the remaining two months.
  Based on this data, the Monitor has determined that for the first time DCF has met this
  performance measure, another indication that corrective actions taken for the requirement to hold
  subsequent FTMs after 12 months for families with a goal of reunification (SEP IV.B.18) are
  likely positively influencing FTM practice overall.


   Figure 1: Percentage of Children Who Had at least Two Family Team Meetings Held After
     12 Months in Placement with a Goal other than Reunification (July – December 2017)
                                100%
                                                                                                                                    Performance
                                                                                                                                    Target (90%)
                                80%
       Percentage of Children




                                60%
                                                               98%              97%              96%             100%
                                       88%       88%
                                40%


                                20%


                                 0%
                                       Jul-17   Aug-17        Sep-17           Oct-17           Nov-17           Dec-17

                                                                Month
   Source: DCF data



  82 Children eligible for Measure 19 are all children who have been in care for at least 12 months who entered care in the month
  specified each year and have a goal other than reunification. For example, in December 2017, a combined total of 145 children
  entered care in December 2016, December 2015, December 2014, etc. and are still in placement with a goal other than
  reunification. Compliance is based on whether at least two FTMs were held for these children each year in the most recent year
  after 12 months in care.
  83 Monthly performance is as follows: July, 88%; August, 88%; September, 98%; October, 97%; November, 96%; December,

  100%. Reported performance accounts for valid exceptions to the FTM requirements.
  84 Based on a review of all 20 cases, the Monitor excluded valid exceptions to the FTM requirement from the universe of cases.

  For example, in December, 2017 there were 145 children who had been in care after 12 months with a goal other than
  reunification. The Monitor determined that in four cases, the worker had appropriately determined that the parent declined the
  FTM or was otherwise unavailable. The Monitor excluded those cases, making the universe of applicable cases 141 children.

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                                                  Quality of Teaming

   Quantitative or                 20. Cases involving out-of-home placement show evidence of family teamwork.
   Qualitative Measure
                                   75% of cases involving out-of-home placements that were assessed as part of the
                                   Qualitative Review (QR) process will show evidence of both acceptable team
       Performance Target          formation and acceptable functioning. The Monitor, in consultation with the
                                   parties, shall determine the standards for quality team formation and functioning.


  FTMs are only one way in which DCF staff engage with families. Teaming with families
  involved with DCF is a central component of New Jersey’s Case Practice Model, and relies upon
  other foundational elements of quality case practice, such as engagement with family members,
  timely assessments and quality case planning, all of which are rated as part of the state’s QR
  process. Information about the QR process and protocol are detailed in Section V.N of this
  report.

  Results from the teamwork and coordination indicator in the QR are used to assess the quality of
  collaborative teamwork with children, youth and families. In assessing case ratings, the reviewer
  considers a range of questions for this indicator, including whether the family’s team is
  composed of the appropriate constellation of providers and informal supports needed to meet the
  child and family’s needs, and the extent to which team members, including family members,
  work together to meet identified goals.

  Performance as of December 31, 2017:

  Results from the 145 cases reviewed from January through December 2017 using the QR
  protocol showed that 59 percent (86 of 145) rated acceptable for the teamwork and coordination
  indicator.85 Figure 2 below reflects these findings. While an improvement from DCF’s
  performance in CY 2016 in which 49 percent of cases were rated acceptable, DCF has not yet
  met the SEP performance standard.86 Key themes in case narratives in this area include (1)
  failure to identify key members of the team, including informal supports such as relatives or
  family friends, and (2) lack of consistent communication among team members. Prioritizing core
  case practice strategies, such as engagement, assessment and case planning will help to improve
  the quality of teaming with families with children in out-of-home placement.




  85All in-home cases are excluded from this measure.
  86In CY 2016, Qualitative Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon, Mercer, Monmouth,
  Passaic, Salem and Union counties. In CY 2017, Qualitative Reviews were conducted in Atlantic, Bergen, Camden, Cape May,
  Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and Warren counties.

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                            Figure 2: Qualitative Review (QR) Cases Rates Acceptable on Teamwork and
                                                 Coordination (CY 2016 – CY 2017)
                                                              (n=145)
                           100%

                           90%

                           80%
                                                                                                             Performance
                                                                                                             Target (75%)
                           70%
     Percentage of Cases




                           60%
                                                                                    59%
                           50%
                                                                                 (86 of 145)
                           40%                   49%
                                              (72 of 146)
                           30%

                           20%

                           10%

                            0%
                                              CY 2016                             CY 2017
  Source: DCF data




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         C. QUALITY OF CASE AND SERVICE PLANNING

  Timely and meaningful case plans at the beginning of a case, as well as throughout a family’s
  involvement with DCF, rely on workers’ assessment and engagement skills. Improvements in
  performance in these areas will likely have a positive effect on the quality of case plans.

  The SEP includes three measures related to case planning, two of which have been previously
  met and designated as Outcomes To Be Maintained: the requirement that case plans be
  developed with families within 30 days of placement (SEP IV.D.22) and the requirement that
  case plans be reviewed and modified every six months (SEP III.C.6). The SEP measure
  regarding the quality of case planning (SEP IV.D.23) is designated as an Outcome To Be
  Achieved. Performance for all three measures during the current monitoring period are discussed
  below.
                         Timeliness of Case Planning – Initial Case Plans

   Quantitative or               22. Timeliness of Initial Plans: For children entering care, number/percent of case
   Qualitative Measure               plans developed within 30 days.

   Performance Target            95% of case plans for children and families are completed within 30 days.


  Performance as of December 31, 2017:

  In December 2017, 216 (94%) out of 229 initial case plans were completed within 30 days of a
  child entering placement. Between July 1 and December 31, 2017, the timely development of
  initial case plans ranged from a low of 89 percent to a high of 95 percent.87 In this monitoring
  period, DCF met this measure in only one of six months, and in the prior two monitoring periods
  the measure was met in only two months for each six-month period.

  The Monitor’s request for a corrective action plan on this measure resulted in DCF conducting a
  review of a random selection of case plans between July and December 2017. Reviewers
  determined that many of the case plans were completed just outside the SEP 30-day time frame.
  As a result, DCF clarified policy for staff, provided Local Offices with Central Office oversight
  and anticipates that practice will improve during the next monitoring period. The Monitor will
  continue to closely evaluate performance in this area and will wait to review data from the period
  January 1 through June 30, 2018 before recommending a change in categorization for this
  measure.
                           Timeliness of Case Planning-Every Six Months

       Quantitative or     6. Case Plans: Case plans for children and families will be reviewed and modified
       Qualitative Measure    no less frequently than every six months.

                                 95% of case plans for children and families will be reviewed and modified no less
       Performance Target        frequently than every six months.



  87Monthly performance for this measure is as follows: July, 93%; August, 89%; September, 95%, October, 89%; November,
  94%; December, 94%.

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  Performance as of December 31, 2017:

  In December 2017, 97 percent of case plans had been modified no less frequently than every six
  months. Performance from July 1 to December 31, 2017 ranged from 92 to 97 percent.88 DCF
  exceeded the required standard for this measure in three of six months, but, for the first time
  since the SEP was negotiated, performance fell slightly below the standard in two months. The
  Monitor has determined that this slight dip in performance is insignificant. However, sustained
  attention is required to continue to meet this measure.

                                                Quality of Case Plans

                                 23. Quality of Case Plans: The child’s/family’s case plan shall be developed with
                                     the family and shall be individualized and appropriately address the child’s
                                     needs for safety, permanency and well-being. The case plan shall provide for
    Quantitative or                  the services and interventions needed by the child and family to meet identified
    Qualitative Measure              goals, including services necessary for children and families to promote
                                     children’s development and meet their educational, physical and mental health
                                     needs. The case plan and services shall be modified to respond to the changing
                                     needs of the child and family and the results of prior service efforts.

    Performance Target           80% of case plans rated acceptable as measured by the Qualitative Review (QR).



  DCF policy and the SEP require that families be involved in case planning, that plans are
  appropriate and individualized to the circumstances of the child or youth and family and that
  there is oversight of plan implementation to ensure case goals are met and plans are modified
  when necessary.

  Results from two QR indicators, child and family planning process and tracking and adjusting,
  are used to assess performance on this measure. Cases rated as acceptable demonstrate that child
  or youth and family needs are addressed in the case plan, appropriate family members were
  included in the development of the plan and interventions are being tracked and adjusted when
  necessary. Though the QR score only consists of those two indicators, several other aspects of
  practice contribute to high quality case planning. Improvements made to performance on QR
  indicators related to the assessment of the father (CY 2017, 25%), assessment of the mother (CY
  2017, 35%), engagement of the father (CY 2017, 40%), case plan implementation (CY 2017,
  64%) and teamwork and coordination (CY 2017, 59%) are likely to have a significant impact on
  the quality of case planning. Although a small sample, QR data disaggregated by county show
  that counties that do better on these indicators generally also rate higher in case planning.

  Information about the QR process and protocol are detailed in Section V.N of this report.




  88Monthly performance on this measure is as follows: July, 92%; August, 97%; September, 94%; October, 96%; November,
  97%; December, 97%.

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  Performance as of December 31, 2017:

  Results from the 193 cases reviewed from January to December 2017 indicate that 53 percent
  (102 of 193) were rated acceptable for both the child and family planning process and tracking
  and adjusting indicators.89 Figure 3 reflects the findings from January through December 2017.
  This is a slight improvement in performance from CY 2016 in which 49 percent were rated
  acceptable for both indicators.90 These data, indicating continued challenges to quality case
  planning, are supported by three key themes in case narratives: (1) families not having a voice in
  case planning; (2) case plans lacking an integrated planning direction; and (3) case plans driven
  by court mandates rather than the needs of the child, youth and family.

  DCF did not meet the SEP performance standard in CY 2017. As discussed above, this is another
  area for which the level of performance suggests that improvements in core case practice
  strategies will have a significant bearing on the quality of case planning.

       Figure 3: Qualitative Review (QR) Cases Rated Acceptable on Quality of Case Plans and
                           Components of Placement (CY 2016 – CY 2017)
                                              (n=193)

                                       100%
         Percentage Rated Acceptable




                                       80%                                                                                            Performance
                                                                                                                                      Target (80%)

                                       60%                                             68%
                                                                                63%    (131
                                                            57%                 (123 of 193)
                                                    54%                                                          53%
                                                            (110               of 195)                   49%
                                       40%          (106                                                         (102
                                                           of 193)                                        (95
                                                   of 195)                                                      of 193)
                                                                                                        of 195)
                                       20%


                                        0%
                                              Child and Family Planning     Tracking & Adjusting   Cases Rated Acceptable on
                                                       Process                                          Both Indicators
                                                                          CY 2016   CY 2017

   Source: DCF data




  89 From January to December 2017, 53% (102 of 193) were rated acceptable for both the child and family planning process and
  tracking and adjusting indicators; 57% (110 of 193) of cases were rated acceptable for child and family planning process; 68%
  (131 of 193) of cases were rated acceptable for tracking and adjusting.
  90 In CY 2016, Qualitative Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon, Mercer, Monmouth,

  Passaic, Salem and Union counties. In CY 2017, Qualitative Reviews were conducted in Atlantic, Bergen, Camden, Cape May,
  Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and Warren counties.

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         D. EDUCATION

  SEP Section III.G.11 requires that “children will be enrolled in school and DCF will have taken
  appropriate actions to ensure that their educational needs are being met.” The SEP requires that
  80 percent of cases be rated acceptable on both the stability in school and learning and
  development indicators as measured by the QR.91 The QR process and protocol are discussed in
  detail in Section V.N of this report. This measure is designated as Outcomes To Be Maintained.
  Performance for this measure is discussed below.

       Quantitative or     11. Educational Needs: Children will be enrolled in school and DCF will have taken
       Qualitative Measure     appropriate actions to ensure that their educational needs are being met.

                                   80% of cases will be rated acceptable as measured by the Qualitative Review (QR)
                                   in stability (school) and learning and development. The Monitor, in consultation
       Performance Target          with the parties, shall determine the standards for school stability and quality
                                   learning and development.


  Performance as of December 31, 2017:

  From January to December 2017, 86 percent (76 out of 88) of cases reviewed were rated
  acceptable for both stability in school and learning and development, age 5 & older (see Figure
  4).92 DCF continues to meet this SEP performance standard. Success in this area is likely due at
  least in part to consistently solid QR performance on stability in the home and living
  arrangement, which are 84 percent and 94 percent for CY 2017, respectively.




  91This measures applies to school-aged children in out-of-home placement.
  92Seventy-six of the 88 cases reviewed rated acceptable on both the stability in school and learning and development, age 5 &
  older indicators; 93% (95 of 102) were rated acceptable for school stability and 92% (83 of 90) were rated acceptable for
  learning and development, age 5 & older.

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                                     Figure 4: Qualitative Review (QR) Cases Rated Acceptable on Educational Needs
                                                                  (CY 2016 – CY 2017)93

                                     100%
       Percentage Rated Acceptable




                                      80%                                                                                               Performance
                                                                                                                                        Target (80%)

                                      60%
                                                  91%     93%               93%        92%            87%      86%
                                                  (123     (95              (111        (83            (78      (76
                                      40%        of 135) of 102)           of 119)     of 90)         of 90)   of 88)


                                      20%


                                       0%
                                                Stability in School   Learning and Development   Cases Rated Acceptable on
                                                                                                      Both Indicators
                                                                      CY 2016        CY 2017

  Source: DCF data




  93In CY 2016, Qualitative Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon, Mercer, Monmouth,
  Passaic, Salem and Union counties. In CY 2017, Qualitative Reviews were conducted in Atlantic, Bergen, Camden, Cape May,
  Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and Warren counties.

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       E. VISITS

  Purposeful visits between children in foster care and their workers, parents and siblings are
  critical tools for supporting children’s safety and well-being, for strengthening family
  connections and improving prospects for permanency. Visits also offer the opportunity for
  engagement and assessment of children, youth and families. Increased attention to this area is
  likely to offer insights into quality case practice. The SEP includes six performance measures
  related to visits.

  As of July 2017, four measures were designated as Outcomes To Be Maintained, including
  caseworker contacts with children newly placed or after a placement change (SEP III.F.9);
  caseworker contacts with children in ongoing placement (SEP III.F.10); and parent-child weekly
  and bi-weekly visits (SEP IV.F.29 and IV.F.30). The remaining two measures, caseworker
  contacts with parents when the goal is reunification (SEP IV.F.28) and sibling visits (SEP
  IV.F.31), are designated as Outcomes To Be Achieved. Performance for all six measures during
  the current monitoring period are discussed below.

                               Caseworker Visits with Children in Placement

                                 9.   Caseworker Contacts with Children – New Placement/Placement Change: The
   Quantitative or                    caseworker shall have at least twice-per-month face to face contact with the
   Qualitative Measure                children within the first two months of placement, with at least one contact in the
                                      placement.
                                 93% of children shall have at least twice-per-month face to face contact with their
   Performance Target            caseworker during the first two months of placement, with at least one contact in the
                                 placement.


  Performance as of December 31, 2017:

  In December 2017, 330 (94%) of the 352 children in a new placement had two visits with their
  caseworkers during their first two months in placement. Between July and December 2017,
  monthly performance ranged from 93 to 97 percent and met the standard in all months for the
  first time since entry into the SEP.94 DCF has shared with the Monitor that Area Directors have
  continued to monitor contacts with families and were asked to address challenges staff are
  encountering in practice with Local Office Managers (LOMs), Casework Supervisors and
  Supervisors. In addition, DCF reports that it has taken steps to address issues in documentation
  of these visits and that Case Practice Liaisons (CPLs) have been tasked with educating Local
  Office staff on the importance of visiting with children in care. DCF believes these efforts have
  been integral to the improved performance.




  94Monthly performance is as follows: July, 97%; August, 95%; September, 96%; October, 96%; November, 93%; December,
  94%.

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                                    10. Caseworker Contacts with Children in Placement: During the remainder of
   Quantitative or
                                        placement, children will have at least one caseworker visit per month, in
   Qualitative Measure                  placement.
                                    93% of children will have at least one caseworker visit per month in placement, for the
   Performance Target               remainder of placement.


  Performance as of December 31, 2017:

  In December 2017, 5,320 (96%) of the 5,543 children in an ongoing placement were visited at
  least once by their caseworker. Between July and December 2017, monthly performance ranged
  between 95 and 96 percent, exceeding the SEP target.95 DCF continues to meet this performance
  standard.

                               Caseworker Visits with Parents/Family Members

                                   28. Caseworker Visits with Parents/Family Members with Goal of Reunification:
   Quantitative or                     The caseworker shall have at least two face-to-face visits per month with the
   Qualitative Measure                 parent(s) or other legally responsible family member of children in custody with
                                       a goal of reunification.

                                   90% of families will have at least twice-per-month face-to-face contact with their
   Final Target                    caseworker when the permanency goal is reunification.


  Performance as of December 31, 2017:

  In December 2017, there were 2,555 applicable children in custody with a goal of reunification;
  the parents of 1,913 children (75%) were visited at least twice during the month and the parents
  of an additional 222 children (9%) had one contact in the same month. Between July and
  December 2017, a range of 72 to 77 percent of applicable parents or other legally responsible
  family members were visited at least two times per month by a caseworker (see Figure 5).96 In
  assessing performance for this measure, the Monitor applied its finding from a review of a
  statistically significant sample of cases from September, October and November 2017 in which
  documentation indicated that a worker visit with a parent was not required because the parent
  was missing or otherwise unavailable.97 Based on the findings, the Monitor excluded cases from
  the universe in which it determined the exceptions to the requirement were appropriately applied
  and documented. Current performance does not meet the level required by the SEP.


  95 Monthly performance is as follows: July, 96%; August, 96%; September, 96%; October, 96%; November, 95%; December,
  96%.
  96
     Monthly performance is as follows: July, 72%; August, 74%; September, 75%; October, 77%; November, 74%; December,
  75%. Reported performance accounts for valid exceptions to the visits requirement. Data for this period are not comparable to
  data reported in the previous monitoring period given that similar exclusions were not made.
  97 The Monitor participated in a joint review with DCF of 300 cases from a universe of cases from September, October and

  November 2017 in which worker visits with parents were not held due to a documented exception to the visits requirement. The
  Monitor and DCF determined that 108 (36%) had utilized a valid exception. As a result, the Monitor excluded 36% of the cases
  of exceptions from each month from the universe. For example, in December 2017 there were 2,733 children in custody with a
  goal of reunification. Data from NJ SPIRIT indicated that there were 494 total cases for which the worker had determined that the
  parent was missing or otherwise unavailable. Based on these findings, the Monitor excluded from the universe 36% of the 494
  cases, making the universe of applicable children 2,555 (2,733-178).

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  An analysis of the data for this measure by Local Office shows wide variation in performance,
  and while overall performance is trending upward, there are a number of counties in which
  performance has sharply declined or remains significantly below the SEP standard.

  Figure 5: Percentage of Families Who Had at Least Twice per Month Face-to-Face Contact
           with Caseworker when the Goal is Reunification (July – December 2017)
                                100%

                                90%                                                                                                 Performance
                                                                                                                                    Target (90%)
                                80%

                                70%                                    75%              77%           74%             75%
                                                       74%
                                       72%
        Percentage of Parents




                                60%

                                50%

                                40%

                                30%

                                20%

                                10%

                                 0%
                                       Jul-17         Aug-17          Sept-17           Oct-17       Nov-17          Dec-17
                                                                                Month

    Source: DCF data



                                         Visits between Children in Custody and their Parents

                                                29. Weekly Visits between Children in Custody and Their Parents: Number/percent
                                                    of children who have weekly visits with their parents when the permanency goal
   Quantitative or                                  is reunification unless a court order prohibits or regulates visits or there is a
   Qualitative Measure                              supervisory approval of a decision to cancel a visit because it is physically or
                                                    psychologically harmful to a child.

                                                60% of children in custody with a return home goal will have an in-person visit with
                                                their parent(s) or other legally responsible family member at least weekly, excluding
   Final Target                                 those situations where a court order prohibits or regulates visits or there is a
                                                supervisory approval of a decision to cancel a visit because it is physically or
                                                psychologically harmful to a child.


  Performance as of December 31, 2017:

  In December 2017, an average of 1,760 (80%) applicable children visited weekly with their
  parents during the month. Between July and December 2017, a monthly range of 78 to 82




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  percent of children had a weekly visit with their parents when the permanency goal was
  reunification.98 This performance exceeds the SEP requirement.

                                    30. Bi-Weekly Visits between Children in Custody and Their Parents:
                                        Number/percent of children who have weekly visits with their parents when the
   Quantitative or                      permanency goal is reunification unless a court order prohibits or regulates
   Qualitative Measure                  visits or there is a supervisory approval of a decision to cancel a visit because it
                                        is physically or psychologically harmful to a child.

                                    85% of children in custody with a return home goal will have an in-person visit with
                                    their parent(s) or other legally responsible family member at least every other week,
   Final Target                     excluding those situations where a court order prohibits or regulates visits or there is
                                    a supervisory approval of a decision to cancel a visit because it is physically or
                                    psychologically harmful to a child.


  Performance as of December 31, 2017:

  In December 2017, 2,063 (93%) applicable children had at least two visits with their parents
  during the month. Between July and December 2017, a monthly range of 90 to 93 percent of
  children had visits at least twice a month with their parents when their permanency goal was
  reunification.99 This performance exceeds the SEP requirement.

                       Visits between Children in Custody and Sibling Placed Apart

                       31. Visits between Children in Custody and Siblings Placed Apart: Number/percent
   Quantitative or         of children in custody, who have siblings with whom they are not residing shall
   Qualitative Measure     visit with their siblings as appropriate.

                                    85% of children in custody who have siblings with whom they are not residing shall
                                    visit with those siblings at least monthly, excluding those situations where a court
   Final Target                     order prohibits or regulates visits or there is a supervisory approval of a decision to
                                    cancel a visit because it is physically or psychologically harmful to a child.


  Performance as of December 31, 2017:

  In December 2017, there were 1,816 applicable children in placement who had at least one
  sibling with whom they did not reside; 1,454 (80%) children had at least one visit with one of

  98
     Monthly performance is as follows: July, 78%; August, 79%; September, 80%; October, 82%; November, 79%; December,
  80%. Given the results of validation from a prior monitoring period, the Monitor excluded from the universe all cases in which
  DCF documented an exception to the parent-child visit requirement. For example, in December 2017, there was an average of
  2,838 children with a goal of reunification across the four weeks of the month. Data from NJ SPIRIT indicated that in an average
  of 643 cases, the worker had determined that the parent was unavailable for the visits, the child declined the visit or the visit was
  not required. Based on these data, the Monitor excluded those cases, making the universe of applicable cases an average of 2,195.
  99
     Monthly performance is as follows: July, 91%; August, 90%; September, 92%; October, 93%; November, 92%; December,
  93%. Given the results of validation activities from a prior monitoring period, the Monitor excluded from the universe all cases in
  which DCF documented an exception to the parent-child visit requirement. For example, in December 2017, there were 2,733
  children with a goal of reunification. Data from NJ SPIRIT indicated that in 515 cases, the worker had determined that the parent
  was unavailable for the visits or the visit was not required. Based on these data, the Monitor excluded those cases from the
  universe, making the universe of applicable cases 2,218.

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  their siblings during the month. Between July and December 2017, a range of 74 to 80 percent of
  children had at least monthly visits with one of their siblings with whom they were not placed
  (see Figure 6).100

  In assessing performance for this measure, the Monitor applied its finding from a review of a
  statistically significant sample of cases from September, October and November 2017 in which
  documentation indicated that a sibling visit was not required due to a court order, hospitalization,
  or because the child was missing or otherwise unavailable.101 Based on the findings, the Monitor
  excluded cases from the universe in which it determined the exceptions to the requirement were
  appropriately applied and documented. DCF performance does not meet the required level for
  visits between children in custody and siblings with whom they are not placed. DCF plans on
  using data collected from the review to identify barriers to improved performance in this area.


                   Figure 6: Percentage of Children Who Had at Least Monthly Visits with Siblings,
                             for Children not Placed with Siblings (July – December 2017)

                                 100%

                                                                                                                                    Performance
                                 80%                                                                                                Target (85%)
        Percentage of Children




                                                                                                                 80%
                                        79%       79%       75%               75%               74%
                                 60%


                                 40%


                                 20%


                                  0%
                                        Jul-17   Aug-17    Sep-17            Oct-17           Nov-17            Dec-17

                                                                Month

  Source: DCF data




  100 Monthly performance is as follows: July, 79%; August, 79%; September, 75%; October, 75%; November, 74%; December,
  80%. Reported performance accounts for valid exceptions to the visits requirement. Data for this period are not comparable to
  data reported in the previous monitoring period given that similar exclusions were not made.
  101 The Monitor participated in a joint review with DCF of 253 cases from a universe of cases from September, October and

  November 2017 in which sibling visits were not held due to a documented exception to the visits requirement. The Monitor and
  DCF determined that 153 (60%) had utilized a valid exception. As a result, the Monitor excluded 60% of the cases of exceptions
  from each month from the universe. For example, in December 2017 there were 1,966 children with a sibling in care with whom
  they were not placed. Data from NJ SPIRIT indicated that there were 250 total cases for which the worker had determined that
  the child was unavailable for the visit due to a court order, hospitalization, or because the child was missing. Based on these
  findings, the Monitor excluded from the universe 60% of the 250 cases, making the universe of applicable children 1,816 (1,966-
  150).

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      F. PLACEMENT

  Stable and appropriate placement for children in foster care is critical to safety and well-being,
  and maintenance of family bonds. DCF policy requires siblings to be placed together whenever
  possible, and that children experience as few placement changes as possible while in out-of-
  home placement. There are five performance measures related to placement. As of January 2017,
  all had been previously met and were designated as Outcomes To Be Maintained: sibling
  placements of two to three children (SEP IV.G.32); sibling placements and recruitment of
  placements for four or more children (SEP IV.G.33); placement stability for children in care
  between 13 and 24 months (SEP IV.G.36); and placement stability for children in care 12
  months or less (SEP IV.G.35). All of these measures, except recruitment of placements to
  accommodate large sibling groups, are assessed through longitudinal cohort data on an annual
  basis. Performance for all five measures are discussed below.
                                             Placing Siblings Together

   Quantitative or               32. Placing Siblings Together: The percentage of sibling groups of two or three
   Qualitative Measure               siblings entering custody be placed together.

                                 At least 80% of siblings groups of two or three children entering placement will be
   Performance Target
                                 placed together.


  Performance as of CY 2017:

  In CY 2017, there were 509 sibling groups that came into custody at the same time or within 30
  days of one another that were comprised of two or three children. Of these, 76 percent (388)
  were placed together. In CY 2016, 78 percent (501) of sibling groups of two or three were placed
  together. DCF has not met the SEP standard this period and performance has declined slightly
  from CY 2016. The Monitor will wait to review data from the period January 1 through
  December 30, 2018, the next available data set, before recommending a change in categorization
  for this measure.

                           Placing Siblings Together for Four of More Children

   Quantitative or               33. Placing Siblings Together for Four or More Children: The percentage of sibling
   Qualitative Measure               groups of four or more placed together.

   Performance Target            For sibling groups of four or more 80% will be placed with at least one other sibling.


  Performance as of CY 2017:

  In CY 2017, there were 351 children who were part of sibling groups of four or more children in
  placement. Of those 351 children, 291 (83%) were placed with at least one other sibling. DCF
  has exceeded this SEP performance standard for the second time this monitoring period.




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                     Recruitment of Placements for Sibling Groups of Four or More

   Quantitative or     34. Recruitment of Placements for Sibling Groups of Four or More
   Qualitative Measure
                                  DCF will continue to recruit for resource homes capable of serving sibling groups of
   Performance Target             four or more.


  Performance as of December 31, 2017:

  DCF staff continued to be guided by recruitment plans intended to drive their work for CY 2017.
  Recruitment plans require resource staff statewide to host recruitment and retention events for
  potential resource families willing to accept large sibling groups, adolescents and children with
  advanced medical needs. An ongoing effort is underway to strategically place advertisements in
  local publications, online websites, blogs and local sports facilities in an effort to reach potential
  resource families.

  During this monitoring period, the Office of Resource Families (ORF) developed a sibling work
  group in Monmouth and Ocean counties that piloted specific retention events for resource
  families with capacity for three or more children. Examples of recruitment and retention
  activities for large sibling groups include an event at Jenkinson’s Boardwalk in Point Pleasant,
  New Jersey for all resource homes in Ocean County with a capacity of caring for four or more
  children and a retention event in Monmouth County for resource parents and siblings at Good
  Sports Sporting Complex that featured the Siblings in Best Placement Settings (SIBS) program.
  A recruiter from the Gloucester/Cumberland/Salem office was invited as a guest to speak on
  WMIZ 1270 AM radio, The Hispanic Voice of South Jersey program, to highlight the need for
  Spanish speaking homes, and recruiters placed an advertisement in NJ Family Magazine –
  Raising Teens issue that reaches Passaic, Morris, Bergen, Hudson and Essex counties. Finally,
  Foster and Adoptive Family Services (FAFS) piloted its new Our Heart to Your Home program
  in Somerset County, a program that provides extra support and services to resource families.

  As of December 31, 2017, DCF had a total of 92 large capacity SIBS homes, six fewer than there
  were at the end of June 2017. Between July and December 2017, DCF recruited 32 new SIBS
  homes, seven of which can accommodate five or more children. Twenty-five of the 32 new SIBS
  homes recruited between July and December 2017 could accommodate four children. Because
  30 homes that could accommodate four children were either downgraded or closed this
  monitoring period, the state decreased its capacity for this size home by five since June 2017,
  resulting in a total of 71 SIBs homes that can accommodate four children.102 As of December 31,




  102
      As of December 31, 2017, 30 homes accommodating four children either downgraded or closed: five homes closed for
  reasons related to adoption/KLG finalization of the children in placement; ten homes closed due to reunification; two homes
  closed because the family could not manage the placements; one home closed upon the death of the resource parent; one home
  closed due to the health of the resource parent; one home closed after an IAIU investigation; three homes downgraded their
  capacity once siblings were reunified; four homes downgraded upon request; one home was transferred into the SIBS -5 program
  when an additional sibling was placed in the home; and two additional homes downgraded their capacity upon adoption
  finalization.

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  2017, DCF had a total of 21 homes that could accommodate five or more children, which is one
  fewer than it had at the end of June 2017.103

  Despite a small decrease in the number of large sibling homes available, the Monitor considers
  DCF to have met the SEP standard for this measure between July and December 2017.

                                                   Stability of Placement

                                    35. Stability of Placement: The percentage of children entering out-of-home
    Quantitative or
                                        placement for the first time in a calendar year who have no more than one
    Qualitative Measure
                                        placement change during the 12 months following their date of entry.

                                    At least 84% of children entering care for the first time in a calendar year will have
    Performance Target              no more than one placement change during the 12 months following their date of
                                    entry.


  Performance as of CY 2016 (Most Recent Calendar Year Available):

  The most recent performance data assesses the 3,454 applicable children who entered care for
  the first time in CY 2016 and aggregates the number of placements each child experienced
  within one year of entry. For children entering care in CY 2016, 2,935 (85%) had no more than
  one placement change during the 12 months from their date of entry. DCF continued to meet the
  SEP performance standard for this measure this monitoring period.


                                    36. Stability of Placement: The percentage of children in out-of-home placement
    Quantitative or
                                        who have no more than one placement change during the 13 to 24 months
    Qualitative Measure
                                        following their date of entry.

                                    At least 88% of children in out-of-home placement will have no more than one
    Performance Target              placement change during the 13 to 24 months following their date of entry.


  Performance as of CY 2015 (Most Recent Calendar Year Available):

  The most recent performance data assesses the 1,770 applicable children who entered care for
  the first time in CY 2015 and aggregates the number of placements each child remaining in care
  experienced in the second year of their out-of-home placement. For children entering care in CY
  2015, 1,665 (94%) children had no more than one placement change during the 13 to 24 months
  following their date of entry. DCF performance exceeded the SEP performance standard.




  103As of December 31, 2017, eight homes accommodating five or more children either were downgraded or closed: one home
  closed for reasons related to adoption finalization; three homes closed due to reunification; one home downgraded their capacity
  upon once the children in placement were reunified; and one home downgraded their capacity upon adoption finalization; and
  two homes downgraded their capacity upon requesting the children be removed from the home.

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      G. MALTREATMENT OF CHILDREN AND YOUTH

  A fundamental responsibility of DCF is ensuring the long-term safety of children who are
  receiving or have received services from CP&P. This responsibility includes ensuring the safety
  of children who are placed in resource family homes and congregate facilities, and preventing
  future maltreatment.

  There are four SEP performance measures related to maltreatment of children and youth. As of
  January 2017, three measures were designated as Outcomes To Be Maintained: abuse and
  neglect of children in foster care (SEP III.H.12); repeat maltreatment for children remaining in
  their home (SEP IV.H.37); and maltreatment post-reunification (SEP IV.H.38). One was
  designated as an Outcome To Be Achieved: re-entry to placement (SEP IV.H.39). All of these
  measures are assessed through longitudinal cohort data on an annual basis. Performance for all
  four measures are discussed below.

                                    Abuse and Neglect of Children in Foster Care

                       12. Abuse and Neglect of Children in Foster Care: Of all children in foster care, the
   Quantitative or         percentage who are victims of substantiated abuse or neglect by a resource
   Qualitative Measure     parent or facility staff member.

                                 No more than 0.49% of children will be victims of substantiated abuse or neglect by
   Final Target                  a resource parent or facility staff member.


  Performance as of CY 2017:

  In CY 2017, 25 out of 10,308 children (0.24%) were victims of a substantiated allegation of
  abuse and/or neglect by a resource parent or facility staff member. Performance for this measure
  continues to exceed the SEP performance standard and mirrors Qualitative Review (QR) data
  which consistently shows high performance on safety when DCF is involved.

                                                    Repeat Maltreatment

                       37. Repeat Maltreatment (In-Home): Of all children who remain in home after
   Quantitative or         substantiation of abuse or neglect, the percentage who have another
   Qualitative Measure     substantiation within the next 12 months.

                                 No more than 7.2% of children who remain at home after a substantiation of abuse
   Final Target                  or neglect will have another substantiation within the next 12 months.


  Performance as of CY 2016 (Most Recent Calendar Year Available):

  In CY 2016, there were 5,050 children who were victims of a substantiated allegation of abuse
  and/or neglect who were not placed in out-of-home care; 328 (6.5%) of these children were the
  victims of another substantiated allegation of child abuse and/or neglect within 12 months of the



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  initial substantiation. While DCF seeks to insure no future maltreatment for any child, in-home
  repeat maltreatment rates continue to meet the SEP performance standard.


                       38. Maltreatment Post-Reunification: Of all children who are reunified during a
   Quantitative or         period, the percentage who are victims of substantiated abuse or neglect within
   Qualitative Measure     one year after the date of reunification.

                                 Of all children who enter foster care in a 12-month period for the first time who are
                                 discharged within 24 months to reunification or living with relative(s), no more than
   Final Target                  6.9% will be the victims of substantiated abuse or neglect within 12 months after
                                 reunification.


  Performance as of CY 2014 (Most Recent Calendar Year Available):

  In CY 2014, there were 1,959 children in foster care who exited DCF custody to reunification
  with families. One-hundred and twenty-six (6.4%) of these children were victims of a
  substantiated allegation of abuse and/or neglect within 12 months of their return home. DCF met
  the SEP performance standard again this monitoring period.

                                               Re-entry to Placement

                                 39. Re-entry to Placement: Of all children who leave custody during a period,
   Quantitative or                   except those whose reason for discharge is that they ran away from their
   Qualitative Measure               placement, the percentage that re-enter custody within one year of the date of
                                     exit.

                                 Of all children who enter foster care in a 12 month period for the first time who are
                                 discharged within 12 months to reunification, living with relative(s), or
   Final Target                  guardianship, no more than 9% will re-enter foster care within 12 months of their
                                 discharge.


  Performance as of CY 2015 (Most Recent Calendar Year Available):

  In CY 2015, there were 1,362 children to whom this measure applied; 152 (11.2%) children re-
  entered placement within 12 months of their discharge. Figure 7 shows performance from CY
  2007 to CY 2015. While re-entry rates have been in decline, DCF has not yet met the SEP
  performance standard.




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    Figure 7: Percentage of Children Who Re-Entered Custody within One Year of Date of
                                  Exit (CY 2007 – CY 2015)

                              20%
                                    17%
     Percentage of Children




                              15%
                                           15%                                                         12%
                                                     14%                                                        11.2%
                                                               13%        13%      13%
                              10%                                                           11.5%                            Performance
                                                                                                                             Target (9%)
                              5%


                              0%
                               CY 2007    CY 2008   CY 2009   CY 2010   CY 2011   CY 2012   CY 2013   CY 2014    CY 2015


                                                                 Calendar Year

  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University.




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      H. TIMELY PERMANENCY

  Regardless of age, gender, race or ethnicity, all children need and deserve a safe, nurturing
  family to protect and guide them. Safe family reunification with families is the preferred path,
  but permanency for children can be achieved through a number of different avenues, including
  kindship/guardianship and adoption. There are four SEP measures that focus on permanency for
  children. As of January 2017, one measure was designated as an Outcome To Be Maintained –
  achieving permanency within 12 months (SEP IV.I.40) – and three measures were designated as
  Outcomes To Be Achieved – achieving permanency within 24 months (SEP IV.I.41), 36 months
  (SEP IV.I.42) and 48 months (SEP IV.I.43).

  For the first time this monitoring period, the Monitor has determined that DCF met the target for
  children who entered care within a 12 month period being discharged to a permanent placement
  (reunified with their parents, living with relatives, living with legal guardians or adopted) within
  both 36 months and 48 months (SEP IV.I.42 and IV.I43, respectively). All of the measures
  discussed in this section are assessed with longitudinal cohort data on an annual basis.
  Performance for all four measures are discussed below.

               Timely Permanency through Reunification, Adoption or Guardianship

                                 40. Permanency Within 12 months: Of all children who entered foster care in a 12
   Quantitative or     month period, what percentage were discharged from foster care to permanency
   Qualitative Measure (reunification, living with relatives, guardianship or adoption) within 12 months of
                                 entering foster care.

                                 Of all children who enter foster care in a 12 month period, at least 42% will be
   Final Target                  discharged to permanency (reunification, living with relatives, guardianship or
                                 adoption) within 12 months of entering foster care.


  Performance as of CY 2016 (Most Recent Calendar Year Available):

  The most recent data available for this measure are for children who entered foster care in CY
  2016. Of the 3,788 children who entered foster care in CY 2016, 1,591 (42%) were discharged to
  permanency within 12 months of their removal from their home (see Figure 8). Of those 1,591
  children, 1,365 of them were discharged to reunification with their families; as seen in Table 2,
  this means that 36 percent of all children who entered foster care in CY 2016 were discharged to
  reunification within 12 months. Current performance continues to meet the SEP performance
  standard.




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      Figure 8: Percentage of Children Who Enter Foster Care in a 12 Month Period Who
   Discharge to Permanency within 12 Months of Entering Foster Care (CY 2007 – CY 2016)
                              60%

                              50%
                                                                                                         41%       42%     42%
                                                                                                                                            Performance
     Percentage of Children




                              40%         43%        44%       43%                    44%                                                   Target (42%)
                                                                         42%                   42%
                                    39%
                              30%

                              20%

                              10%

                              0%
                               CY 2007 CY 2008 CY 2009 CY 2010 CY 2011 CY 2012 CY 2013 CY 2014 CY 2015 CY 2016

                                                                        Calendar Year

  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University.


   Table 2: Number and Percentage of Children Who Entered Foster Care in CY 2016 Who
        Were Discharged to Permanency within 12 Months, by Permanency Outcome
                                            Permanency Outcome                 Number            Percentage

                                                Kinship guardianship            <10*                  0%

                                                      Adoption                   20                   1%

                                                Living with Relatives            205                  5%

                                                    Reunification               1,365                36%
                                           Source: NJ Child Welfare Data Portal
                                           *To protect the privacy of children represented in the data, values
                                           less than 10 are reported as zero.


                       41. Permanency Within 24 months: Of all children who enter foster care in a 12
   Quantitative or     month period, what percentage were discharged to permanency (reunification, living
   Qualitative Measure with relatives, guardianship or adoption) within 24 months of entering care.

                                                 Of all children who enter foster care in a 12 month period, at least 66% will be
   Final Target                                  discharged to permanency (reunification, living with relatives, guardianship or
                                                 adoption) within 24 months of entering care.


  Performance as of CY 2015 (Most Recent Calendar Year Available):

  The most recent data available for this measure are for children who entered foster care in CY
  2015. Of the 4,035 children who entered foster care in CY 2015, 2,566 (64%) were discharged to
  permanency within 24 months of removal from their homes (see Figure 9). Of those 2,566
  children, 1,950 of them were discharged to reunification with their families; as seen in Table 3,

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  this means that 48 percent of all children who entered care in CY 2015 were discharged to
  reunification within 24 months. DCF performance remains close to, but does not yet meet, the
  SEP standard.

      Figure 9: Percentage of Children Who Enter Foster Care in a 12 Month Period Who
   Discharge to Permanency within 24 Months of Entering Foster Care (CY 2007 – CY 2015)

                              100%


                              90%
     Percentage of Children




                              80%


                              70%
                                                                                                                                          Performance
                                             65%         66%                                                                              Target (66%)
                              60%                                     64%       64%                     64%          65%      64%
                                     61%                                                     63%

                              50%
                                CY 2007    CY 2008     CY 2009     CY 2010     CY 2011     CY 2012     CY 2013     CY 2014     CY 2015


                                                                      Calendar Year

  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University.

   Table 3: Number and Percentage of Children Who Entered Foster Care in CY 2015 Who
        Were Discharged to Permanency within 24 Months, by Permanency Outcome
                                             Permanency Outcome                Number              Percentage

                                              Kinship guardianship                93                   2%

                                                     Adoption                     255                  6%

                                              Living with Relatives               268                  7%

                                                 Reunification                  1,950                  48%
                                           Source: NJ Child Welfare Data Portal


                       42. Permanency Within 36 months: Of all children who enter foster care in a 12
   Quantitative or     month period, what percentage were discharged to permanency (reunification, living
   Qualitative Measure with relatives, guardianship or adoption) within 36 months of entering care.

                                                   Of all children who enter foster care in a 12 month period, at least 80% will be
   Final Target                                    discharged to permanency (reunification, living with relatives, guardianship or
                                                   adoption) within 36 months of entering care.


  Performance as of CY 2014 (Most Recent Calendar Year Available):




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  The most recent data available for this measure are for children who entered foster care in CY
  2014. Of the 4,378 children who entered foster care in CY 2014, 3,503 (80%) were discharged to
  permanency within 36 months of removal from their homes (see Figure 10). Of those 3,503
  children, 2,300 of them were discharged to reunification with their families; as seen in Table 4,
  this means that 53 percent of all children who entered care in CY 2014 were discharged to
  reunification within 36 months. DCF performance meets the SEP standard for the first time this
  reporting period, a significant achievement.

     Figure 10: Percentage of Children Who Enter Foster Care in a 12 Month Period Who
   Discharge to Permanency within 36 Months of Entering Foster Care (CY 2007 – CY 2014)

                              100%


                              90%
     Percentage of Children




                              80%                                                                                                      Performance
                                     74%                  80%                                                            80%           Target (80%)
                                             77%                                    78%           78%           78%
                                                                        77%
                              70%


                              60%


                              50%
                                CY 2007    CY 2008      CY 2009        CY 2010     CY 2011      CY 2012      CY 2013       CY 2014

                                                                        Calendar Year

  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University.


   Table 4: Number and Percentage of Children Who Entered Foster Care in CY 2014 Who
        Were Discharged to Permanency within 36 Months, by Permanency Outcome
                                              Permanency Outcome                 Number           Percentage

                                               Kinship guardianship               174                   4%

                                                     Adoption                     710                 16%

                                               Living with Relatives              319                   7%

                                                   Reunification                  2,300               53%
                                           Source: NJ Child Welfare Data Portal


                       43. Permanency within 48 months: Of all children who enter foster care in a 12
   Quantitative or     month period, what percentage were discharged to permanency (reunification, living
   Qualitative Measure with relatives, guardianship or adoption) within 48 months of entering care.

                                                 Of all children who enter foster care in a 12 month period, at least 86% will be
   Final Target                                  discharged to permanency (reunification, living with relatives, guardianship or
                                                 adoption) within 48 months of entering care.


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  Performance as of CY 2013 (Most Recent Calendar Year Available):

  The most recent data available for this measure are for children who entered foster care in CY
  2013. Of the 4,612 children who entered foster care in CY 2013, 3,943 (86%) were discharged to
  permanency within 48 months of removal from their homes (see Figure 11). Of those 3,943
  children, 2,546 of them were discharged to reunification with their families; as seen in Table 5,
  this means that 55 percent of all children who entered care in CY 2013 were discharged to
  reunification within 48 months. Current performance meets the SEP performance standard for
  the first time, another notable achievement this monitoring period.

     Figure 11: Percentage of Children Who Enter Foster Care in a 12 Month Period Who
   Discharge to Permanency within 48 Months of Entering Foster Care (CY 2007 – CY 2013)

                                100%
       Percentage of Children




                                90%
                                                                                                                             Performance
                                       80%    84%           85%                                            85%   86%         Target (86%)
                                80%                                         83%          85%


                                70%

                                60%

                                50%
                                  CY 2007    CY 2008       CY 2009        CY 2010       CY 2011       CY 2012    CY 2013

                                                                    Calendar Year

  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University.


   Table 5: Number and Percentage of Children Who Entered Foster Care in CY 2013 Who
        Were Discharged to Permanency within 48 Months, by Permanency Outcome
                                               Permanency Outcome             Number              Percentage

                                                Kinship guardianship              197                4%

                                                       Adoption                   878                19%

                                                Living with Relatives             332                7%

                                                    Reunification              2,546                 55%
                                             Source: NJ Child Welfare Data Portal




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      I. CHILD HEALTH UNITS

  Early in New Jersey’s child welfare reform efforts, DCF built Child Health Units (CHUs) to
  facilitate and ensure the timely provision of health care to children in CP&P custody. CHUs exist
  in each CP&P Local Office and are staffed with Regional Nurse Administrators, Nurse Health
  Care Case Managers (HCCMs) and staff assistants, based on the projected number of children in
  out-of-home placement.

  Section III.E of the SEP requires the state to “maintain its network of child health units,
  adequately staffed by nurses in each local office.” This measure has been previously met and
  designated as an Outcome To Be Maintained. In what has become a model for other child
  welfare systems throughout the country, each child placed in a resource home has a nurse
  assigned for health care case management. CHUs are recognized by staff and external partners as
  an effective achievement of New Jersey’s child welfare reform efforts. The work of the nurses in
  concert with caseworkers and other team members have contributed to the consistently positive
  findings in New Jersey’s Qualitative Reviews (QRs) regarding children’s health. In the most
  recent QR conducted between January and December 2017, the indicator physical health of the
  child was rated acceptable 98 percent of the time. Performance for this measure is discussed
  below.

   Quantitative or     8. Child Health Units: The State will continue to maintain its network of child
   Qualitative Measure    health units, adequately staffed by nurses in each Local Office.

   Performance Target            DCF will maintain adequate staffing levels in Local Offices.


  Performance as of December 31, 2017:

  As of December 31, 2017, DCF had 170 nurses and 82 staff assistants. Of the 170 nurses, an
  average of 168 were available for coverage for an average ratio of one nurse to every 37 children
  in out-of-home care, exceeding the standard of one nurse to 50 children in out-of-home care.




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        J. OLDER YOUTH

  The SEP includes four measures related to older youth, all designated as Outcomes To Be
  Maintained – completion of Independent Living Assessments (SEP IV.K.45); quality of case
  planning and services (SEP IV.K.46); housing for youth who exit care without achieving
  permanency (SEP IV.K.47); and education/employment for youth who exit care without
  achieving permanency (SEP IV.K.48). Performance for all four measures during the current
  monitoring period are discussed below.

                                        Independent Living Assessments

    Quantitative or     45. Independent Living Assessments: Percentage of youth age 14 and 18 with a
    Qualitative Measure     completed Independent Living Assessment.

    Performance Target           90% of youth age 14 to 18 will have an Independent Living Assessment.


  Performance as of December 31, 2017:

  In December 2017, there were 740 youth age 14 to 18 in out-of-home placement for at least six
  months; 691 (93%) had an Independent Living Assessment (ILA) completed. Monthly
  performance between July and December 2017 ranged from 92 to 94 percent. 104 DCF sustained
  performance above the level required by the SEP in all six months this monitoring period.

                                     Quality of Case Planning and Services

                        46. Quality of Case Planning and Services: DCF shall provide case management
    Quantitative or
                            and services to youth between the age 18 and 21 who have not achieved legal
    Qualitative Measure     permanency.

                                 75% of youth age 18 to 21 who have not achieved legal permanency shall receive
    Performance Target           acceptable quality case management and service planning.


  Performance data for this measure were collected through Qualitative Reviews (QRs) of the
  experiences and outcomes of 42 youth age 18 to 21, conducted from January through December
  2017. In rating these cases, reviewers use both the standard QR protocol and a list of additional
  considerations relevant to this population, such as DCF’s efforts to plan and support youth who
  identify as LGBTQI, are victims of domestic violence, are expectant or parenting and/or are
  developmentally disabled. As part of DCF’s efforts to support older youth, the Office of
  Adolescent Services (OAS) developed a plan in this monitoring period, utilizing the 2017 QR
  findings, to train staff on the Transition Plan for YOUth/Casey Life Skills Assessment, as well as
  to provide enhanced training at the 2018 Adolescent Practice Forums about identifying
  underlying needs, goal setting with youth, key elements of transformational relationships, and
  strategies to develop informal support networks.

  104
    Monthly performance is as follows: July, 94%; August, 94%; September, 93%; October, 93%; November, 92%; December,
  93%.

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  From January to December 2017, 31 of the 42 (74%) cases reviewed scored acceptable for both
  the child(youth)/family status and practice performance indicators (see Figure 12).105 Given that
  the universe of cases to which this measure applies is small and therefore more susceptible to
  fluctuations, the Monitor considers this measure to have been met again this period.

                                             Figure 12: Qualitative Review (QR) Cases Rated Acceptable on
                                                 Quality of Case Planning and Services for Older Youth
                                                                 (CY 2016 – CY 2017)106
                                                                         (n=42)

                                      100%
        Percentage Rated Acceptable




                                      80%
                                                                                                                                                   Performance
                                                                                                                                                   Target (75%)
                                                             88%                             74%
                                      60%                                          69%                                       74%
                                                  81%         (37                             (31
                                                                                    (22                             63%     (31…
                                                   (26       of 42)                          of 42)
                                                  of 32)                           of 32)                          (20…
                                      40%


                                      20%


                                       0%
                                             Overall Child and Family      Overall Practice Performance Cases Rated Acceptable on
                                                      Status                                                 Both Indicators
                                                                              CY 2016       CY 2017

  Source: DCF data



                                                                                Housing

    Quantitative or     47. Housing: Youth exiting care without achieving permanency shall have housing.
    Qualitative Measure
    Performance Target                                     95% of youth exiting care without achieving permanency shall have housing.


  Performance as of December 31, 2017:

  The Monitor and DCF staff conducted a case record review of all youth who exited care between
  July and December 2017 without achieving permanency to assess whether they had housing


  105 From January to December 2017, 88 percent (37 of 42) of cases rated acceptable on the child(youth/family status indicator and
  74 percent (31 of 42) of cases rated acceptable on the practice performance indicator.
  106 In CY 2016, Qualitative Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon, Mercer, Monmouth,

  Passaic, Salem and Union counties. In CY 2017, Qualitative Reviews were conducted in Atlantic, Bergen, Camden, Cape May,
  Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and Warren counties.

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  upon leaving DCF custody. Of the 63 youth for which this measure was applicable,107 there was
  documentation of a housing plan for 58 (92%) youth, just below the SEP standard. Given that the
  universe of cases to which this measure applies is small and therefore more susceptible to
  fluctuations, the Monitor considers this measure to have been met again this period.

                                                 Employment/Education

                                    48. Employment/Education: Youth exiting care without achieving permanency shall
    Quantitative or                     be employed, enrolled in or have recently completed a training or an educational
    Qualitative Measure                 program or there is documented evidence of consistent efforts to help the youth
                                        secure employment or training.
                                    90% of youth exiting care without achieving permanency shall be employed,
                                    enrolled in or have recently completed a training or an educational program or there
    Performance Target              is documented evidence of consistent efforts to help the youth secure employment or
                                    training.


  Performance as of December 31, 2017:

  The Monitor and DCF also reviewed the case records of all youth who exited DCF custody
  between July and December 2017 without achieving permanency to determine whether they
  were employed or enrolled in school at the time of leaving care. Of the 56 youth to whom this
  measure applied,108 46 were either employed or enrolled in education or vocational training
  programs, and there was documentation of consistent efforts by the caseworker to help seven
  youth secure education or employment. Overall, there was satisfactory performance with this
  measure in 53 (95%) of cases, exceeding the SEP measure again this period.




  107 Two youth were excluded from consideration because they could not be located.
  108 Nine youth were excluded from this measure because they were incarcerated, could not be located, had relocated to a different
  state and were in the process of applying or enrolling, or had a significant medical or mental health impairment.

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        K. SERVICES TO SUPPORT TRANSITION

  While involved with DCF, children, youth and families often face transitions, including changes
  in family relationships, living arrangements, service providers or schools. Some transitions are
  more critical than others but all require recognition and planning in order to be smooth and
  successful. DCF uses the Qualitative Review (QR) process to measure case practice that supports
  families to make successful transitions. Section IV.J of the SEP requires that 80 percent of cases
  be rated acceptable on the successful transitions indicator. This measure is designated as an
  Outcome To Be Achieved.

                                          Services to Support Transition


    Quantitative or     44. Services to Support Transition: DCF will provide services and supports to
    Qualitative Measure     families to support and preserve successful transitions.

                                 80% of cases will be plans rated acceptable for supporting transitions as measured
    Performance Target           by the Qualitative Review (QR).

  Performance as of December 31, 2017:

  Results from 128 cases reviewed from January to December 2017 indicate that 59 percent (75 of
  128) of cases were rated acceptable, a decline in performance from CY 2016, in which 66
  percent of cases reviewed rated acceptable (see Figure 13).109 DCF did not meet the SEP
  performance standard in either period.

  Quality assessments and case plans are integral parts of good case practice, both of which can
  impact how well DCF supports families to make successful transitions. A key theme from case
  narratives is the need for clear case plans that are developed with the family and the family’s
  informal and formal supports that are modified with the team over time as necessary.




  109In CY 2016, Qualitative Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon, Mercer, Monmouth,
  Passaic, Salem and Union counties. In CY 2017, Qualitative Reviews were conducted in Atlantic, Bergen, Camden, Cape May,
  Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and Warren counties.

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     Figure 13: Qualitative Review (QR) Cases Rated Acceptable on Successful Transitions
                                     (CY 2016 – CY 2017)
                                           (n=128)
                                 100%

                                 90%
                                                                                           Performance
                                 80%                                                       Target (80%)
                                 70%
           Percentage of Cases




                                 60%
                                           66%
                                 50%    (88 of 133)                     59%
                                                                     (75 of 128)
                                 40%

                                 30%

                                 20%

                                 10%

                                  0%
                                         CY 2016                     CY 2017
       Source: DCF data




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        L. CASELOADS

  One of the early successes of DCF’s reform was reducing caseloads to levels where workers
  could do the work with children, youth and families that was expected of them. Caseload
  compliance is measured by assessing caseloads for individual caseworkers in each of the
  system’s functional areas (Intake, Permanency, Adoption and IAIU) as well as office standards
  for each CP&P Local Office. Table 6 summarizes the SEP’s caseload standards for individual
  workers.

  The SEP includes eight performance measures related to caseloads and all are designated as
  Outcomes To Be Maintained. These eight measures include Intake office caseloads (SEP
  IV.E.24); Intake individual worker caseloads (SEP IV.E.25); Adoption office caseloads (SEP
  IV.E.26); Adoption individual worker caseloads (SEP IV.E.27); Permanency office caseloads
  (SEP III.B.4); Permanency individual worker caseloads (SEP III.B.5); IAIU investigators
  individual caseloads (SEP III.B.3); and supervisory/worker ratio (SEP III.B.2). Performance for
  all eight measures during the current monitoring period are discussed below.

                          Table 6: CP&P Individual Worker Caseload Standards
                                                                                      Individual Caseload Standard (SEP
  Caseworker Function                          Responsibility
                                                                                            Sections IV.E and III.B)
                            Respond to community concerns regarding child
                                                                                     Intake workers are to have no more
                            safety and well-being. Specifically, receive
                                                                                     than 12 open cases at any one time
                            referrals from the State Central Registry (SCR)
                                                                                     and no more than eight new referrals
                            and depending on the nature of the referral,
          Intake                                                                     assigned in a month. No Intake worker
                            respond between two hours and five days with a
                                                                                     with 12 or more open cases can be
                            visit to the home and begin investigation or
                                                                                     given more than two secondary
                            assessment. Complete investigation or assessment
                                                                                     assignments per month.110
                            within 60 days.

                            Respond to allegations of child abuse and neglect
                            in settings including correctional facilities,
                                                                                     IAIU staff workers are to have no
    Institutional Abuse     detention facilities, treatment facilities, schools
                                                                                     more than 12 open cases at any one
    Investigations Unit     (public or private), residential schools, shelters,
                                                                                     time and no more than eight new
           (IAIU)           hospitals, camps or child care centers that are
                                                                                     referrals assigned in a month.
                            required to be licensed, resource family homes and
                            registered family day care homes.

                            Provide services to families whose children remain       Permanency workers are to serve no
                            at home under the protective supervision of CP&P         more than 15 families and 10
        Permanency
                            and those families whose children are removed            children in out-of-home care at any
                            from home due to safety concerns.                        one time.

                            Find permanent homes for children who cannot
                                                                                     Adoption workers are to serve no
                            safely return to their parents by preparing children
         Adoption                                                                    more than 15 children at any one
                            for adoption, developing adoptive resources and
                                                                                     time.
                            performing the work needed to finalize adoptions.
 Source: DCF


  110Secondary assignments refer to shared cases between Intake and Permanency workers for families who have a case open with
  a Permanency worker where there are new allegations of abuse or neglect that require investigation.

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  Verifying Worker Caseloads

  DCF caseload data are collected and analyzed through NJ SPIRIT and SafeMeasures. As in
  previous monitoring periods, the Monitor verified caseload data supplied by DCF by conducting
  telephone interviews with randomly selected workers across the state. The caseload verification
  process included workers in all areas in which the SEP establishes caseload standards: Intake,
  Permanency and Adoption. A sample of 170 workers were selected from all active workers in
  December 2017. All of the 46 CP&P Local Offices were represented in the sample. For the past
  several years, the Monitor has weighted the sample with Intake workers to examine in more
  depth the impact of shared cases between Intake and Permanency workers. The interviews were
  conducted in January and February 2018. All 170 workers were called and information was
  collected from 123 workers (74% of the eligible sample).111 Among the 123 workers who
  participated in the caseload verification interviews, 71 were Intake workers, 25 were Permanency
  workers, 15 were Adoption workers and 12 were trainees.

  During the interviews, the Monitor asked each caseworker whether his or her caseload met
  caseload standards between July and December 2017; responses were compared to the caseload
  information from NJ SPIRIT and SafeMeasures for identified workers during the same period.
  Workers were also asked to report their specific caseload size for the month of December 2017
  and their reports were compared with NJ SPIRIT and SafeMeasures data for that month.

                                                             Intake

  The SEP Intake caseload standard is that no worker should have more than eight new case
  assignments per month, no more than 12 open primary cases at any one time and no Intake
  worker with 12 or more open primary cases can be assigned more than two secondary
  assignments per month. In January 2017, DCF implemented a new methodology for tracking and
  reporting the SEP Intake caseload standard to more clearly communicate to staff and to
  streamline monitoring and reporting. DCF’s new methodology captures secondary case
  assignments on the Intake worker’s monthly caseload report, which tracks and reports Intake
  caseloads as follows: no more than eight new assignments per month; no more than 12 cases
  assigned as primary case assignments at any one time; and no more than 14 cases at any one
  time, including both primary and secondary case assignments. The methodology for the standard
  of no more than eight new case assignments per month, including secondary assignments,
  remains unchanged.

  DCF continues to implement its statewide internal caseload verification process which serves as
  a quality assurance method where Intake workers are interviewed and their reported caseloads
  are compared to their caseloads as reported in SafeMeasures. During the period of July through
  December 2017, DCF interviewed a random sample of 225 Intake workers from 25 Local
  Offices throughout the state. DCF verified that 92 percent (208 of 225) of Intake worker
  caseloads were accurately reflected in SafeMeasures. Findings from DCF’s caseload verification


  111One worker was on extended leave during the period the calls were made and were removed from the sample. Three
  additional workers were no longer assigned to the Local Office at the time of the call were also removed from the sample. The
  Monitor made at least three attempts to contact each caseworker in the sample.

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  reviews will be shared widely with DCF staff through briefs, posted onto the Office of Quality
  website and presented during ChildStat meetings.


                                 24. Intake Local Office Caseloads: Local Offices will have an average caseloads for
   Quantitative or                   Intake workers of (a) no more than 12 families, and (b) no more than eight new
   Qualitative Measure               assignments per month. No Intake worker with 12 or more open cases can be
                                     given more than two secondary assignments per month.

                                 95% of Local Offices will have an average caseload of (a) no more than 12 families,
   Performance Target            and (b) no more than eight new assignments per month. No Intake worker with 12 or
                                 more open cases can be given more than two secondary assignments per month.


  Performance as of December 31, 2017:

  Performance data for July through December 2017 show that 97 percent of Local Offices met the
  Intake caseload standards. DCF continues to meet this SEP standard.

                                 25. Individual Intake Caseloads: individual Intake workers shall have (a) no more
   Quantitative or                   than 12 open cases, and (b) no more than eight new assignments per month. No
   Qualitative Measure               Intake worker with 12 or more open cases can be given more than two
                                     secondary assignments per month.

                                 90% of individual Intake workers shall have (a) no more than 12 open cases, and (b)
   Performance Target            no more than eight new assignments per month. No Intake worker with 12 or more
                                 open cases can be given more than two secondary assignments per month.


  Performance as of December 31, 2017:

  DCF continues to meet the individual Intake worker caseload standard this monitoring period.
  The state reported an average of 1,030 active Intake workers between July and December 2017.
  Among those active Intake workers, an average of 96 percent (990 of 1,030) of workers had
  caseloads that met the standard. Specifically, in December 2017, individual worker caseload
  compliance for Intake workers was 97 percent (1,007 of 1,042 total workers).

  Data by Local Office show that during December 2017, performance ranged between 71 and 100
  percent, with 41 of 46 (89%) Local Offices having all Intake workers in compliance with
  caseload standards.

  Among the 123 workers who participated in the Monitor’s interviews for caseload verification,
  71 were Intake workers. Two (3%) of the 71 Intake workers reported exceeding the caseload
  limit of eight new assignments per month at some point between July and December 2017.
  Nineteen (27%) Intake workers reported having more than 14 total cases including both primary
  and secondary case assignments on their caseload at some point during the same period.




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  DCF deploys Impact Teams (a supervisor and three workers) to a unit or a Local Office in
  different areas when intakes are unusually high, to assist in maintaining caseload standards by
  taking on investigation overflow. There are nine Impact Teams, one per Area Office.

  “Shared” Cases between Intake and Permanency Workers

  As described in previous monitoring reports, Intake and Permanency workers sometimes share
  responsibility for families with open permanency cases when there are new allegations of abuse
  or neglect. According to DCF procedure, all Child Protective Services (CPS) reports are assigned
  to Intake workers to investigate and are reflected in caseload reporting as one of the Intake
  workers’ eight new referrals in the month and as one of their 12 open families for that month.
  However, when circumstances indicate that a family with an already open permanency case is
  the subject of a new CPS report, the work with the family becomes the shared responsibility of
  both Intake and Permanency workers until the investigation is completed.

  Intake workers are assigned a secondary worker designation in NJ SPIRIT for such cases with
  families who are already currently assigned a Permanency worker. According to DCF, this
  arrangement emphasizes the primary role of the Permanency worker in securing placement,
  facilitating visits, supporting the family to implement the case plan and coordinating services. It
  also reflects the Permanency worker’s responsibility to provide information to the Intake worker
  and to link the family to appropriate services and supports identified during the course of the new
  investigation, thus relieving the Intake worker of the overall case management responsibility for
  the case. Intake workers continue to be responsible for the work required to complete
  investigative tasks and to reach and document an investigative finding. Thus, these secondary
  assignments are counted as one of the Intake worker’s eight new referrals assigned in a month
  and as part of the total 14 open cases per month.

  DCF reports that Intake supervisors in CP&P Local Offices are expected to appropriately
  manage the workload of staff in their units and consider an Intake worker’s primary and
  secondary responsibilities when assigning new referrals. Table 7 provides the reported number of
  secondary assignments to Intake workers by month for this monitoring period.

                    Table 7: Number of CP&P Investigations and Secondary Intake
                           Assignments by Month (July – December 2017)112
                                              Total Investigations             Secondary Intake Worker
                      Month                   Assigned to Intake              Assignments of CPS and CWS
                                             Workers for the Month                    Investigations
                        July                         4,614                        467                10%
                      August                           4,746                      454                  10%
                     September                         5,675                      487                   9%
                      October                          6,749                      581                   9%
                     November                          6,153                      551                   9%
                     December                          5,881                      529                   9%
           Source: DCF data

  112Total excludes intakes assigned to Impact, Permanency, Adoption and Advocacy Center workers and includes intakes
  assigned to workers on leave.

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  The Monitor reviewed monthly Local Office data on secondary assignments and found that on
  average, each Intake worker was assigned one secondary case at any given time during the time
  period reviewed. The Monitor also found that an average of 23 percent of Intake workers
  received two or more secondary case assignments and an average of five percent of Intake
  workers received three or more secondary assignments each month during the monitoring period.
  Specifically, in the month of December 2017, 267 (26%) Intake workers received two or more
  secondary intake assignments and 57 (5%) Intake workers received three or more secondary
  intake assignments.

  During phone interviews with caseworkers, Monitor staff inquired about the prevalence of
  secondary assignments and their impact on workload. Intake workers were asked about the
  frequency of secondary assignments, the effect these assignments have on workload and how
  they are measured. Of the 71 Intake workers interviewed, 59 (83%) workers reported receiving
  an assignment to investigate a new report on an open permanency case as a secondary worker at
  least once in the six month period between July and December 2017. Of those 59 workers, 32
  (54%) workers reported receiving at least one secondary assignment per month. Thirty-eight of
  the 59 (64%) Intake workers interviewed responded that in their opinion, the workload for an
  investigation on an open permanency case in which they are designated as secondary worker is
  equivalent to, or sometimes more than, the workload for an initial investigation. Workers
  explained that although Permanency workers may have completed collateral contacts or are able
  to provide information about the family’s circumstances, every investigation must be approached
  in the same manner regardless of primary or secondary status.

  To ensure that Intake workload is properly managed regardless of the combination of primary
  and secondary assignments, DCF continues to examine the processes used in Local Offices to
  make secondary assignments, as well as Local Office workflow management practices.

  Assignment of Investigations to Non-Caseload Carrying Staff

  On occasion, in order to handle the unpredictable flow of referrals for investigations, trained
  non-caseload carrying staff as well as caseload-carrying staff who are not part of Intake units
  (non-Intake caseload carrying staff) in Local Offices are assigned to investigations. DCF reports
  that policy requires all staff to complete First Responder training prior to being assigned an
  investigation and non-caseload carrying staff have to have been similarly trained and receive
  supervision by the Intake supervisor. The Monitor’s review of DCF’s data for the months of July
  through December 2017 found that approximately one percent of investigations were assigned
  each month to non-caseload carrying staff and that about six percent were assigned to non-Intake
  caseload carrying staff. DCF produces a Caseload Report Exception List that documents all
  instances of intakes identified as assigned to non-caseload carrying workers and closely monitors
  this on an ongoing basis. Table 8 shows the number and percentage of investigations assigned to
  non-caseload carrying staff, and Table 9 shows the number and percentage of investigations
  assigned to non-Intake caseload carrying staff.

  As part of the phone interviews, Intake workers were asked if there were scenarios in their Local
  Offices in which non-caseload carrying staff could be assigned an investigation. Twenty-eight of


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  the 71 workers (39%) reported that they were aware of instances in which this has happened in
  their office. Respondents stated that non-caseload carrying staff with prior investigative
  experience can be assigned cases when all Intake workers in a Local Office reach their
  assignment limit for the month. The most frequently identified job titles for the non-caseload
  carrying staff who are assigned investigations are Administrative Assistant and Resource
  Development Specialist.

                 Table 8: Percentage of CP&P Investigations Assigned to Non-Caseload
                           Carrying Staff by Month (July – December 2017)113
                                       Total Investigations            Number and Percentage of Investigations Assigned
               Month
                                      Received in the Month                     to Non-Case Carrying Staff
                July                             4,965                                47                              1%
               August                            5,021                                47                              1%
             September                           6,005                                59                              1%
              October                            7,342                                83                              1%
             November                            6,696                                73                              1%
             December                            6,309                                62                              1%
  Source: DCF data


                  Table 9: Percentage of CP&P Investigations Assigned to Non-Intake
                      Caseload Carrying Staff by Month (July – December 2017)
                                       Total Investigations            Number and Percentage of Investigations Assigned
               Month
                                      Received in the Month               to Non- Intake Caseload Carrying Staff114
                July                             4,965                          304                              6%
               August                            5,021                          228                              5%
            September                            6,005                          271                              5%
              October                            7,342                          510                              7%
             November                            6,696                          470                              7%
             December                            6,309                          366                              6%
  Source: DCF data
                                                              Adoption

                       26. Adoption Local Office Caseloads: Local offices will have an average caseloads
   Quantitative or
                           for Adoption workers of no more than 15 children per worker.
   Qualitative Measure
                                    95% of Local Offices will have an average caseload of no more than 15 children per
   Performance Target               Adoption worker.




  113 Data are provided for investigations assigned within five days of intake receipt date and does not reflect additional
  assignments to an investigation after the first five days. DCF conducted a review of assignments to non-caseload carrying staff in
  NJ SPIRIT and found that some investigations had been re-assigned to caseload carrying workers after the initial five days. As a
  result, there is potential for the percentage of investigations assigned to non-caseload carrying staff to be lower than six percent.
  114 This includes Permanency, Adoption, Impact and Advocacy Center caseload carrying workers.



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                       27. Individual Worker Adoption Caseloads: Individual Adoption worker caseloads
   Quantitative or
                           shall be no more than 15 children per worker.
   Qualitative Measure
                                  95% of individual Adoption workers shall have a caseload of no more than 15
   Performance Target             children per month.



  Performance as of December 31, 2017:

  Performance data for July through December 2017 show that 97 percent of Local Offices and 98
  percent of individual workers115 continued to maintain the adoption caseload standard during this
  period.

  Among the 123 workers who participated in the phone interviews conducted by Monitor staff for
  caseload verification, 15 were Adoption workers. One of the 15 Adoption workers interviewed
  reported a caseload of 16 children exceeding caseload standards at some point during the
  monitoring period of July through December 2017.

                                                        Permanency
                                  4.  Permanency Local Office Caseloads: Local offices will have an average
   Quantitative or                    caseloads for Permanency workers of (a) no more than 15 families, and (b) no
   Qualitative Measure                more than 10 children in out-of-home placement per worker.
                                  95% of Local Offices will have an average caseload of (a) no more than 15 families,
   Performance Target             and (b) no more than 10 children in out-of-home placement per worker.



                                  5.  Individual Worker Permanency Caseloads: Individual Permanency worker
   Quantitative or                    caseloads shall be (a) no more than 15 families, and (b) no more than 10
   Qualitative Measure                children in out-of-home placement per worker.
                                  95% of individual Permanency workers shall have a caseload of (a) no more than 15
   Performance Target             families, and (b) no more than 10 children in out-of-home placement per worker.

  Performance as of December 31, 2017:

  Performance data for July through December 2017 show that 100 percent of Local Offices and
  100 percent of individual workers116 continued to maintain the permanency caseload standard
  during this period.

  Among the 123 workers who participated in telephone interviews conducted by Monitor staff for
  caseload verification, 25 were Permanency workers. Two (8%) of the 25 Permanency workers
  interviewed reported a caseload of 12 children in out-of-home placement and 16 families,
  exceeding the caseload standard at some point during the monitoring period of July through
  December 2017.
  115 Reported performance is the average of DCF’s performance in meeting individual caseload standards during this six month
  monitoring period.
  116 Reported performance is the average of DCF’s performance in meeting individual caseload standards during this six month

  monitoring period.

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                                Institutional Abuse Investigation Unit (IAIU)
                                 3.  Individual Worker IAIU Caseloads: individual IAIU worker caseloads shall be
   Quantitative or                   (a) no more than 12 open cases, and (b) no more than eight new case
   Qualitative Measure               assignments per month.
                                 95% of individual IAIU workers shall have a caseload (a) no more than 12 open
   Performance Target            cases, and (b) no more than eight new case assignments per month.



  Performance as of December 31, 2017:

  DCF data show 100 percent of individual workers maintained the IAIU caseload standard
  for the period of July through December 2017.

                                                  Supervisory Ratio
                       2. Supervisor/Worker Ratio: Local Offices shall have sufficient supervisory staff
   Quantitative or
                          to maintain a five worker to one supervisor ration.
   Qualitative Measure
                                 95% of Local Offices shall have sufficient supervisory staff to maintain a five
   Performance Target            worker to one supervisor ration.


  Performance as of December 31, 2017:

  Performance data for July through December 2017 show that 100 percent of CP&P Local Offices
  had sufficient supervisors to maintain ratios of five workers to one supervisor. The Monitor
  verified the state’s reported information about supervisor/worker ratios by asking all 123 workers
  who participated in the telephone interviews about the size of their units for the month of
  December 2017; 120 (98%) workers reported being in units of five or fewer workers with one
  supervisor.




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      M. DEPUTY ATTORNEYS GENERAL STAFFING

   Quantitative or     7. DAsG Staffing: The State will maintain adequate DAsG staff potions and keep
   Qualitative Measure    positions filled.
                                 DCF will maintain adequate staffing levels at the DAsG office.
   Performance Target

  Performance as of December 31, 2017:

  As of December 31, 2017, 134 Deputy Attorneys General (DAsG) staff positions assigned to
  work with DCF were filled. Of those, four DAsG were on full time leave. Thus, there are a total
  of 130 (97%) available DAsG. DCF reports that in addition to these positions, DAsG outside of
  the DCF Practice Group have dedicated some of their time to DCF matters. DCF continues to
  meet the SEP standard for this measure.




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        N. ACCOUNTABILITY THROUGH QUALITATIVE REVIEW AND THE
           PRODUCTION AND USE OF ACCURATE DATA

  QUALITATIVE REVIEW

  New Jersey’s Qualitative Review (QR) is an assessment of the status of children, youth and
  families, the status of practice and the functioning of systems in each of the counties. The
  protocol and process used for the QR are aligned with DCF’s Case Practice Model. Select QR
  results related to both Child/Youth and Family Status and Practice/System Performance are also
  used to report on several SEP requirements included in this report, three of which are designated
  Outcomes To Be Achieved: Quality of Teaming (SEP IV.B.20), Quality of Case Plans (SEP
  IV.D.23) and Services to Support Transition (SEP IV.J.44); and two of which are designated
  Outcomes To Be Maintained: Educational Needs (SEP III.G.11) and Quality of Case Planning
  and Services for Older Youth (SEP IV.K.46).

  When conducting a QR involving children/youth under age 18, the legal guardian is asked to
  give informed consent for participation in the QR. Trained review teams of two persons
  including DCF staff, community stakeholders and staff from the Monitor’s office review CP&P
  case records and interview as many people as possible who are involved with the children/youth
  and their families. The results from reviews provide critical qualitative data on child/youth and
  family status and practice/system performance. A rigorous quality review process is in place and
  is an important part of each review.

  At the conclusion of each week of the QR, DCF’s Office of Performance, Management and
  Accountability (OPMA) works with staff in each county, through its Office of Quality, to
  develop a Performance Improvement Plan (PIP) with short and long term goals to strengthen
  practice. The Office of Quality approves each PIP, aggregates results and shares them with
  leaders across DCF’s divisions. Findings from the QRs are incorporated into existing training
  and supervisory tools and used to identify systemic opportunities for improvement. This
  monitoring period, the Monitor attended New Jersey’s first QR Reviewer Workshop, “Sharing
  Information,” provided to staff in order to improve documentation of the review process.

  During CY 2017, using the new QR protocol developed in CY 2015, DCF reviewed 193 cases
  from 11 counties.117 Table 10 provides the gender, age and racial and ethnic demographics of the
  193 children/youth. Forty-eight of the children/youth were living with a parent at the time of the
  review and 145 of them lived with a relative or non-relative resource parent.




  117DCF’s QR protocol reviews cases in every county over a two year period. In CY 2017, Qualitative Reviews were conducted
  in Atlantic, Bergen, Camden, Cape May, Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and Warren counties. In CY
  2016, Qualitative Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon, Mercer, Monmouth, Passaic,
  Salem and Union counties.

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           Table 10: Qualitative Review: Gender, Age and Race/Ethnicity Demographics
                                    (January – December 2017)
                     Gender                         Number of Cases                         Percentage of Cases*
                      Male                                   95                                       49%
                     Female                                  98                                       51%

                      Total                                 193                                      100%

                      Age                                    #                                         %
                 4 years or less                             70                                       36%
                    5-9 years                                46                                       24%
                  10-13 years                                31                                       16%
                  14 -17 years                               13                                        7%
                  18-21 years                                33                                       17%
                      Total                                 193
                Race/Ethnicity                                #                                        %
                White/Caucasian                             147                                       54%
               African American                              62                                       23%
                    Hispanic                                 59                                       22%
                Native Hawaiian                               0                                        0%
                American Indian                               2                                       <1%
                      Asian                                   4                                        1%
        Source: DCF data
        *Percentages might not equal 100% due to rounding.

  DCF reports that 1,839 individuals were interviewed across the state to inform the QR data for
  this reporting period. The informants for the QR include CP&P and Child Health Unit staff,
  biological parents, others who the children/youth or parents identified as supportive, relative and
  non-relative resource parents, education providers, mental health and legal professionals,
  substance abuse treatment providers and children/youth.118

  Reviewers evaluate the child/youth and family’s status on a range of indicators and rate whether
  the status was acceptable or unacceptable. See Table 11 for the results on each Child/Youth and
  Family status indicator for all cases for January through December 2017. Child/Youth and
  Family status indicators cover key areas of safety, stability in school, living arrangement,
  learning and development and physical health of the child. The overall child and family status
  was rated acceptable in 174 (90%) of cases reviewed, with separate ratings on specific child and
  family status indicators ranging from 62 percent (family functioning and resourcefulness) to 99
  percent (safety in other settings).




  118Interviews are usually conducted individually with participants, either by phone or in person. All efforts are made to see
  children/youth in the setting in which they reside.

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                 Table 11: Qualitative Review: Child/Youth and Family Status Results
                                      (January – December 2017)
        Child/Youth & Family Status                    Number of                    Number of                 Percentage of
                Indicators                           Applicable Cases            Acceptable Cases            Acceptable Cases

   Safety at Home                                            193                         186                         96%

   Safety in other Settings                                  193                         192                         99%

   Stability at Home                                         193                         161                         83%

   Stability in School                                       102                          95                         93%

   Living Arrangement                                        193                         182                         94%

   Family Functioning & Resourcefulness                      189                         118                         62%

   Progress towards Permanency                               193                         135                         70%

   Physical Health of the Child                              193                         189                         98%
   Emotional Well-Being                                      193                         180                         93%

   Learning & Development, Under Age 5                       69                           65                         94%

   Learning & Development, Age 5 & older                     90                           83                         92%

   OVERALL Child & Family Status                             193                         174                         90%
  Source: DCF data

  Table 12 shows the results of the QR ratings for practice and system performance indicators
  from reviews conducted January through December 2017. As with the child/youth and family
  status indicators, reviewers evaluated whether performance was acceptable or unacceptable. This
  is the second annual report measuring indicators under DCF’s new QR process and protocol.119

  The overall practice/system performance indicator was rated acceptable in 61 percent (118 of
  193) of cases, with separate ratings on specific indicators ranging from 25 percent (assessment of
  fathers) to 95 percent (provision of health care services). Ratings for the SEP measures Quality
  of Teaming (SEP IV.B.20), which consists of the family teamwork and coordination indicator
  (59%), Services to Support Transition (SEP IV.J.44), which consists of the successful transitions
  indicator (59%) and Quality Case Planning (SEP IV.D.23), which consists of the case planning
  (57%) and tracking and adjusting (68%) indicators remain below acceptable standards.




  119In CY 2015 DCF updated key portions of the state’s QR process and protocol, as described in Monitoring Report XVIII.
  Changes to the QR protocol include: (1) combination of team functioning and team formation indicators into one indicator,
  teamwork and coordination (2) exclusion of the overall indicator for all practice performance indicators (3) rating mothers and
  fathers separately in the practice performance indicators (4) removal of the family supports indicator for the practice performance
  indicators, and (5) replacement of the transitions and life adjustment indicator with successful transitions indicator.

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                   Table 12: Qualitative Review: Practice/System Performance Results
                                       (January – December 2017)
                                                                # Cases               # Cases                 %
          Practice/System Performance Indicators
                                                               Applicable            Acceptable           Acceptable
                                           Child/Youth            114                   102                  89%
                                                Mother             130                    75                  60%
         Engagement
                                                 Father            112                    45                  40%
                                      Resource Family              114                   101                  89%
         Family                          Teamwork &
                                                                   145                    86                  59%
         Teamwork                        Coordination
                                          Child/Youth              193                   154                  78%
         Assessment &                           Mother             130                    46                  35%
         Understanding                           Father            112                    28                  25%
                                      Resource Family              114                    99                  87%
         Case Planning Process                                     193                   110                  57%
         Plan Implementation                                       193                   123                  64%
         Tracking & Adjusting                                      193                   131                  68%
         Provision of Health Care Services                         192                   182                  95%
         Resource Availability                                     193                   170                  88%

         Family &                               Mother              81                    60                  74%
         Community                               Father             66                    34                  55%
         Connections                           Siblings             34                    27                  79%
         Successful Transitions                                    128                    75                  59%
         Long Term View                                            193                   103                  53%
         OVERALL Practice/System Performance                       193                   118                  61%
        Source: DCF data



  QR performance in CY 2017 compared to CY 2016, though based on a different cohort of
  counties, 120 demonstrates improvement on many Practice/System Performance indicators, such
  as teamwork and coordination moving from 49 percent to 59 percent, but declined in
  performance on the successful transitions indicator from 66 percent to 59 percent. Some
  Child/Youth and Family Status indicators, such as family functioning and resourcefulness and
  learning and development under age 5 have also declined by several percentage points, though
  overall performance for those indicators remain high.




  120DCF’s QR protocol reviews cases in every county over a two year period. Thus, based on the sample plan, annual
  performance comparisons reflect cases pulled from two sets of counties.

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        O. NEEDS ASSESSMENT

                                    21. Needs Assessment: The State shall regularly evaluate the needs for additional
                                        placements and services to meet the needs of children in custody and their
    Quantitative or                     families, and to support intact families and prevent the needs for out-of-home
    Qualitative Measure                 care. Such needs assessments shall be conducted on an annual, staggered basis
                                        that assures that every county is assessed at least once every three years.

                                    The State shall develop placements and services consistent with the findings of these
    Final Target                    needs assessments.


  DCF, in partnership with the Institute for Families at Rutgers University School of Social Work
  (IFF), has been engaged in a multi-year Needs Assessment process to identify the strengths and
  needs of families with children at risk of entering out-of-home placement as well as those
  already in care. A detailed description of DCF’s Needs Assessment process is available in
  previous monitoring reports, and DCF’s three interim reports are available on the DCF
  website.121 In sum, Phase I involved a review of DCF internal reports and assessments completed
  by DCF and its partners from CY 2008 to CY 2014. Phase II involved an analysis of the findings
  from Phase I and the identification of seven areas of need: caregiver mental health, caregiver
  substance abuse, child mental health, child substance abuse, poverty, housing and domestic
  violence.122

  Between July and December 2017, in order to further understand the needs and potential gaps in
  services for children, youth and families involved or at risk of involvement with DCF
  experience, researchers at the Child Welfare and Well-Being Research Unit at Rutgers School of
  Social Work conducted almost 2,000 surveys with CP&P staff, including (a) intake workers and
  permanency workers (637); (b) parents from families of origin, including those with children in
  the home (391) and those placed out-of-home (185); and (c) resource parents providing out-of-
  home care (739). DCF published its report regarding these surveys in its DCF Needs Assessment
  2018 Report #3: Survey Findings and Synthesis.123 The survey participants were asked to
  evaluate the families’ needs in eight major domains: housing, family poverty, domestic violence,
  caregiver mental health, caregiver substance use, parenting skills, child mental health and child
  substance use. Needs of and services used by families involved with CP&P were assessed by
  county for the eight domains. CP&P staff were asked to estimate the percentage of families on
  their caseload in the last 30 days with needs involving each of the eight domains. Parents from
  families of origin and resource parents were asked to describe their needs since the CP&P case
  was opened.

  In addition to data on the referral to and use of services among parents and resource parents, data
  on barriers to receiving services were also collected, as well as data on whether the services
  received were helpful.
  121 To see DCF’s Needs Assessment Interim Reports from January 2015, March 2016, and April 2017, go to:
  http://www.nj.gov/dcf/childdata/protection/
  122 During Phase III of the Needs Assessment process, Rutgers identified three additional domains: justice system-involved

  children and caregivers, challenging populations (defined as populations especially challenging to serve across several need
  domains, including low-income and undocumented families) and multi-need, frequent contact families.
  123 To see DCF’s Final Needs Assessment 2018 Report #3: Survey Findings and Synthesis, go to:

  http://www.nj.gov/dcf/childdata/protection/DCF.Needs.Assessment.Phase.IV.Report-March2018.pdf.

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  DCF reported the following key findings from the surveys:
     The most common reported needs were related to poverty, caregiver substance abuse and
        caregiver mental health;
     The services most frequently received were related to caregiver mental health, parenting
        skills and caregiver substance abuse treatment;
     The most common barriers to services for families were related to poverty, eligibility for
        affordable housing and accessibility of housing;
     Families generally indicated that the services they received were helpful.

  Information collected from the surveys raises questions concerning the alignment between needs
  and available services by county for families involved with CP&P. DCF recognizes that
  information obtained from Phase III and Phase IV of the Needs Assessment process at times
  offers contradictory information and poses a limitation to the state’s capacity to fully document
  the availability of services. Further, limitations regarding the survey methodology, including the
  very low response rate for parents with children both in- and out-of-home, and the survey having
  been available only in English, present difficulties for accurately interpreting the data.

  Despite some of the limitations, the Monitor agrees with DCF’s conclusion that the Needs
  Assessment offers insight into the needs families involved with CP&P face, and that ongoing
  assessment will be necessary to monitor and measure progress. More work is necessary to more
  precisely identify whether the services offered in each county in the state adequately address the
  needs of families. Additional efforts to collect more data from families, including Spanish-
  speaking families, will be important. The SEP’s Needs Assessment requirements are ongoing in
  that needs in each county need to be reassessed every three years.




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      P. FISCAL YEAR BUDGET

  Governor Murphy's proposed FY 2019 budget, which is currently before the legislature and
  expected to be formalized in June 2018, maintains funding for programs and services related to
  the core mission of DCF. The budget, effective July 1, 2018, includes $1.15 billion in state
  funds. The budget includes a $3.7 million increase for Mobile Response and Stabilization
  Services within the Children’s System of Care, as well as $750,000 for the Displaced
  Homemaker program, which will contribute to five new programs and a statewide expansion.
  Commissioner Norbut Beyer has testified in support of the proposed allocations, which include
  funding for all of DCF's budget requests.

  Though the total allocations appear as a decrease in funding for DCF, some of this is due to
  technical budget adjustments. For example, there is an apparent loss of funding for treatment and
  prevention services related to the opioid epidemic, which has been replaced by a larger allocation
  of anti-opioid funding in the budget for the Department of Health, a portion of which will be
  allocated to support DCF programs. Even though the budget would result in a slight net state
  budget decrease (the FY 2018 budget included state funds of $1.19 billion), it does include a net
  increase of $2.2 million for CP&P Independent Living, Family Support Services, and Subsidized
  Adoption accounts. Of note, the budget includes an investment of $3 million to support the
  purchase of 550 additional state cars in order to improve the ability of staff to serve children,
  youth and families.




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                                            APPENDIX: A
                          Glossary of Acronyms Used in the Monitoring Report

    CHU:        Child Health Unit
                                                                     LGBTQI: Lesbian, Gay, Bisexual,
    CIACC: Children’s Interagency                                            Transgender, Questioning or
           Coordinating Council                                              Intersex

    CP&P: Division of Child Protection and                            KLG:    Kinship Legal Guardian
          Permanency
                                                                      LOM:    Local Office Manager
    CPM:       Case Practice Model
                                                                      MSA:    Modified Settlement Agreement
    CPS:       Child Protective Services
                                                                      OAS:     Office of Adolescent Services
    CQI:       Continuous Quality Improvement
                                                                      OMPA: Office of Performance
    CSOC: Children’s System of Care                                         Management and Accountability

    CSSP: Center for the Study of Social                              ORF:    Office of Resource Family
          Policy
                                                                      PIP:    Performance Improvement Plan
    CWS:       Child Welfare Services
                                                                      QR:     Qualitative Review
    DAsG: Deputy Attorneys General
                                                                      RFP:    Request for Proposal
    DCF:       Department of Children and
               Families                                               SCR:    State Central Registry

    FAFS: Foster and Adoptive Family                                  SIBS:   Siblings in Best Placement
          Services                                                            Settings

    FSC:       Family Success Centers                                 USDA: United States Department of
                                                                            Agriculture
    FTM:       Family Team Meeting
                                                                      YAB:    Youth Advisory Board
    IAIU:      Institutional Abuse Investigative
               Unit




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                                                                   APPENDIX: B




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